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                    Expert Report of Professor Meredith Rosenthal

                                   March 25, 2019
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I.       QUALIFICATIONS

         My name is Meredith B. Rosenthal. I am the C. Boyden Gray Professor of Health

Economics and Policy at the Harvard T.H. Chan School of Public Health and an Academic

Affiliate of Greylock McKinnon Associates (“GMA”), a consulting and litigation support firm. My

principal research interests concern the economics of the health care industry.

         At Harvard, I have taught in undergraduate, Masters- and Ph.D.-level health economics

and health policy courses. Since 1996, I have worked on a number of consulting matters

through GMA, most of which relate to litigation in health care markets generally and the

pharmaceutical industry in particular. I have also submitted written testimony in litigation

concerning alleged anticompetitive conduct for a variety of drugs, which are listed in

Attachment A. Most relevant to the current matter, I have submitted written and in some

cases presented oral testimony in litigation concerning allegations of improper marketing of the

following prescription drugs: Actiq,1 Bextra,2 Celexa and Lexapro,3 Lyrica and Zyvox,4 Geodon,5




1
  In re: Actiq Sales and Marketing, United States District Court for the Eastern District of Pennsylvania, No. 07-CV-
4492.
2
 In re: Bextra Marketing Sales Practices and Product Liability Litigation, United States District Court for the
Northern District of California, MDL No. 1699, No. M:05-CV-01699-CRB.
3
 In re: Celexa and Lexapro and Sales Practices Litigation, United States District Court for the District of
Massachusetts, Case No. 09-MD-2067 (NMG); MDL No. 2067.
4
 Mary K. Jones v. Pfizer Inc., et al., United States District Court for the Southern District of New York, Civil Action
No. 1:10-cv-03864-AKH.
5
 In re United States of America v. Pfizer, Inc., United States District Court for the District of Massachusetts, Case
No. 1:10-CV-11166-DPW.

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Ketek,6 Lupron,7 Neurontin,8 Nexium,9 Premarin, Prempro and Premphase,10 Risperdal,11

Rituxan,12 Vioxx13 and Zyprexa.14

         I have conducted research on a wide variety of health economics topics, with a focus on

the financing and organization of the U.S. health care system. Specific topics I have studied

include the effect of payment incentives on provider behavior, 15 payment and delivery system




6
  Sergeants Benevolent Association Health and Welfare Fund v. Sanofi-Aventis U.S. LLP, United States District Court
for the Eastern District of New York, No. 08-CV-179.
7
 In re: Lupron Marketing and Sales Practices Litigation, United States District Court for the District of
Massachusetts, MDL No. 1430, No. 01-CV-10861.
8
  In re: Neurontin Marketing and Sales Practices Litigation, United States District Court for the District of
Massachusetts, MDL No. 1629, No. 04-10981; Gregory Clark and Linda Meashey v. Pfizer Inc., and Warner-Lambert
Company, LLC, Philadelphia County Court of Common Pleas, No. 1819; Elizabeth Judy and Stephen Brown v. Pfizer,
Inc., individually and as successor in interest to Parke-Davis and Warner-Lambert, Inc., Circuit Court of the City of
St. Louis, State of Missouri, Cause No. 042-01946, Division No. 1; and In re: Neurontin Marketing and Sales
Practices Litigation, as it relates to: Kaiser Foundation Health Plan v. Pfizer, Inc., United States District Court for the
District of Massachusetts, MDL No. 1629, No. 04-10981-PBS, No. 04-10739-PBS.
9
 Commonwealth Care Alliance and Glen Crenshaw v. AstraZeneca Pharmaceuticals L.P. and Zeneca Holdings, Inc.,
Commonwealth of Massachusetts, Superior Court, Trial Court Department, No. 05-CV-0269 BLS.
10
  Krueger v. Wyeth, Inc., United States District Court for the Southern District of California, Civil Action No.
03CV2496 JAH (AJB).
11
  Charles Foti, Attorney General ex rel. State of Louisiana v. Janssen Pharmaceutica, Inc., 27th Judicial District
Court, Parish of St. Landry, No. 04-C-3967-D and The State of Texas, ex rel. Allen Jones v. Janssen, L.P., District
Court, 250th Judicial District, Travis County, Texas, No. D-1GV-04-001288.
12
  United States ex rel. John Underwood v. Genentech, Inc., United States District Court for the Eastern District of
Pennsylvania, No. 03-CV-3983.
13
   Kleinman v. Merck & Co., No. ATL-L-3954-04 and Martin v. Merck & Co., No. ATL-L24-05, Superior Court of New
Jersey, Law Division, Camden County.
14
   In re: Zyprexa Products Liability Litigation, United States District Court for the Eastern District of New York, MDL
No. 1596, Civil Action No. 05-CV-4115. I also submitted testimony in related state matters.
15
   See M. Rosenthal, “Risk Sharing and the Supply of Mental Health Services,” Journal of Health Economics, 19(6),
November 2000, pp. 1047-65; M. Rosenthal, R. Frank, Z. Li, and A. Epstein, “From Concept to Practice: Early
Experience with Pay-for-Performance,” Journal of the American Medical Association, 294(14), October 2005, pp.
1788-93; and M. Rosenthal, Z. Li, A. Robertson, and A. Milstein, “Impact of Financial Incentives for Prenatal Care on
Birth Outcomes and Spending,” Health Services Research, 44(5), Part 1, October 2009, pp. 1465-79.

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reform,16 and advertising and promotion of prescription drugs.17 I have published more than

150 peer-reviewed journal articles, essays, and book chapters.

        I received an A.B. in International Relations from Brown University in 1990 and a Ph.D. in

Health Policy (Economics Track) from Harvard University in 1998. A more complete description

of my qualifications is found in my Curriculum Vitae, which is included as Attachment A to this

Report.

        I am being compensated at a rate of $825 per hour for my time. The compensation due

to me is for the work performed and it is not contingent upon my opinions, my conclusions, or

the outcome of this matter. The opinions I state in this report are stated within a reasonable

degree of professional certainty in the areas of healthcare economics and econometrics. I

reserve the right to respond to, rebut, opine on, or incorporate opinions offered by other

experts in these matters.




16
  See M. Rosenthal, “Beyond Pay for Performance: Emerging Models of Provider-Payment Reform,” The New
England Journal of Medicine, 359(12), September 2008, pp. 1197-1200; M. Rosenthal, M. Friedberg, S. Singer, D.
Eastman, Z. Li, and E. Schneider, “Effect of a Multipayer Patient-Centered Medical Home on Health Care Utilization
and Quality: The Rhode Island Chronic Care Sustainability Initiative Pilot Program,” JAMA Internal Medicine,
September 2013, PMCID: 24018613; and S. Edwards, M. Abrams, M. Rosenthal, et al., “Structuring Payment to
Medical Homes After the Affordable Care Act,” Journal of General Internal Medicine, 2014, PMCID: 417661.
17
  M. Rosenthal, et al., “Promotion of Prescription Drugs to Consumers,” The New England Journal of Medicine,
346(7), February 2002, pp. 498-505; M. Rosenthal, et al., “Demand Effects of Recent Changes in Prescription Drug
Promotion,” Forum for Health Economics & Policy, 6(1), January 2003, pp. 1-26; M. Mello, M. Rosenthal, and P.
Neumann, “Direct-to-Consumer Advertising and Shared Liability for Pharmaceutical Manufacturers,” Journal of the
American Medical Association, 289(4), January 2003, pp. 477-81; J. Donohue, E. Berndt, M. Rosenthal, A. Epstein,
and R. Frank, “Effects of Pharmaceutical Promotion on Adherence to the Treatment Guidelines for Depression,”
Medical Care, 42(12), December 2004, pp. 1176-85.

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II.        ASSIGNMENT

           I understand that this litigation, brought by the City of Cleveland, the City of Akron,

Cuyahoga County and Summit County (collectively the “Bellwether governments”), alleges

among other things that the “Defendants’ conduct in promoting opioid use, addiction, abuse,

overdose and death has had severe and far-reaching public health, social services, and criminal

justice consequences, including the fueling of addiction and overdose from illicit drugs such as

heroin.”18 The governments further allege that the opioid epidemic and the need for increased

services “arose from the opioid manufacturers’ deliberately deceptive marketing strategy to

expand opioid use, together with the distributors’ equally deliberate efforts to evade restriction

on opioid distribution.”19

           In this Report, I refer to the manufacturers’ deceptive marketing strategy and tactics as

“manufacturer misconduct.” This report does not address non-marketing misconduct.

           My assignment is to answer the following questions framed by plaintiffs’ counsel, all to

a reasonable degree of certainty in the area of healthcare economics and econometrics:


          Manufacturer substantial contribution causation. Do you have an opinion as to whether

           the combined effect of the Defendant manufacturers’ promotion of prescription opioids




18
   Second Amended Complaint, In Re National Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-2804,
United States District Court for the Northern District of Ohio, Eastern Division, May 18, 2018 (hereafter Cuyahoga
Complaint), ¶ 19; and Corrected Second Amended Complaint, In Re National Prescription Opiate Litigation, MDL
No. 2804, Case No. 17-md-2804 (referring to Case No. 18-op-45090), United States District Court for the Northern
District of Ohio Eastern Division, May 18, 2018 (hereafter Summit Complaint), ¶ 20. I refer to both complaints as
the Complaints.
19
      Cuyahoga Complaint, ¶ 3 and Summit Complaint, ¶ 3.

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           since 1995 was a substantial contributing factor in causing an increase in the use of

           prescription opioids in the Bellwether communities?


          Manufacturer “but for” causation. Do you have an opinion as to whether the increase in

           the use of prescription opioids in the Bellwether communities since 1995 would have

           occurred were it not for, i.e., “but for,” the allegedly unlawful promotion of these

           products by the Defendant manufacturers?


          Extent of “but for” causation. Do you have an opinion as to the quantum of increase in

           the use of prescription opioids in the Bellwether communities that resulted from the

           Defendant manufacturers’ promotion of prescription opioids since 1995?


          Sensitivity to particular manufacturers. To what extent are your opinions sensitive to

           the potential that the fact finder concludes that any one or more of the Defendant

           manufacturers is found not to have engaged in unlawful marketing? If so, please explain

           and, if necessary, articulate the sensitivity in quantitative terms such that your

           conclusions may be used by other experts in reports that use your results to estimate

           damages.


III.       LIST OF MATERIALS CONSIDERED

           The materials I considered are listed in Attachment B. The staff that worked under my

direction had full and complete access to the documents and data produced in this case.




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IV.     OVERVIEW OF STRUCTURE AND ORGANIZATION OF CHAPTER

        In the remainder of this chapter, I review the economic basis for my opinions that the

allegedly unlawful practices caused an increase in sales of prescription opioids. In Section VI, I

discuss the relevant features of the prescription drug market that form the institutional context

within which the alleged violations took place. In that section, I also describe how

pharmaceutical companies, including the Defendants in this matter, influence the key decision

makers in pharmaceutical markets (payers, physicians and patients) through the use and

alleged misuse of information and marketing tactics. I also review the substantial scientific

literature on the impact of commercial sources of information on physician prescribing

behavior. This literature shows that physicians are influenced by commercial promotional

messages, even if when asked they do not acknowledge those influences. In Section VII, I

present evidence specific to the marketing of opioids, including scientific literature and the

Defendants’ own documents showing that they recognized the importance of promotion in

increasing sales of their opioid products. In Section VIII, I provide a detailed description of my

econometric methodology to quantify directly the causal relationship between promotion and

sales (I refer to this later as “the direct approach”) and I present the results of this analysis. In

Section IX, I propose and implement an indirect model of changes in demographic, economic

and medical conditions as an additional approach that explains the growth in opioid sales from

marketing and which avoids some measurement challenges inherent in the first approach. In

Section X, I present a final set of analyses to test the fairness and reasonableness of the results

from my direct and indirect methodologies. In particular, I discuss the hypothetical impact of




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changes in pain management over time as an alternative theory explaining the growth in opioid

sales. My conclusions appear in Section XI.


V.       SUMMARY OF OPINIONS

         Based on my expertise in healthcare economics and econometrics, as well as research

and data analysis specific to this matter, I reach the following conclusions, all to a reasonable

degree of certainty in the areas of healthcare economics and econometrics:


        Promotion of pharmaceuticals increases their sales. Such promotion is particularly

         important for goods like pharmaceuticals, which require trial for consumers to ascertain

         their worth. Promotion is also very profitable in this industry due to factors such as

         third-party coverage, which cause prices to exceed production costs by a large margin.


        The alleged unlawful promotion of opioids, if proven, resulted in increased sales of

         opioids. Economic theory and empirical studies in the economics, marketing, and health

         services research literature find that promotional efforts increase both approved and

         unapproved uses of pharmaceuticals. The Defendants’ strategic marketing materials

         corroborate this conclusion. As a result, I am of the opinion that the combined effect of

         the Defendant manufacturers’ promotion of prescription opioids since 1995 was a

         substantial contributing factor to the increase in the use of prescription opioids in the

         Bellwether communities.


        Using econometric models, I demonstrate that I can reasonably identify the extent to

         which the sale of prescription opioids (measured by the number of milligrams of

         morphine equivalents, or MMEs) was caused by any quantum of the Defendants’

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         promotional efforts that counsel can prove was unlawful. Based upon my analyses and

         assumptions from counsel about the extent of promotion that can be proven to be

         unlawful, I can reasonably identify approximately 45-67% of MMEs during the period of

         my analysis as caused by unlawful promotion. I report my estimates in further detail

         below, by year both nationally and for the Bellwether counties.


        As per my assignment, should the conduct of any manufacturer Defendant be excluded

         from consideration at the trial of this litigation for any reason, I am able to calculate the

         number of additional prescriptions caused by the allegedly unlawful promotion of any

         combination of remaining Defendants.




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      Summary of Opinions
      Section    What I Did                               What I Found
      VI         Reviewed the economic and
                                                           o      Promotion of pharmaceuticals increases
                 institutional landscape surrounding
                                                           sales.
                 the market for pharmaceuticals,
                 including the role of physician           o      Promotion is important for pharmaceuticals
                 agency, insurance, and the role of        because they are experience goods Patients and
                 promotion. I also summarize what is       doctors are relatively insensitive to price, which
                 known about marketing tactics             increases prices and spending making promotion
                 impact.                                   more profitable than for typical commodities
      VII          Reviewed literature on marketing of
                                                           o       Literature demonstrates widespread
                   opioids and show examples from
                                                           transfers of value (payments and in-kind transfers)
                   discovery that corroborate the
                                                           to physicians by opioid manufacturers
                   economic theory and evidence on
                   pharmaceutical marketing.               o       Discovery materials show examples of
                                                           diverse marketing tactics, recognition of
                                                           promotional effectiveness
      VIII         Proposed and implemented a direct
                                                           o       Peer-reviewed literature provides examples
                   method of estimating the impact of
                                                           of accepted econometric methods to measure the
                   Defendant promotion on sales
                                                           impact of promotion on sales using aggregate time-
                   (MMEs)
                                                           series data
                                                           o       Application of this direct method of
                                                           estimation shows that Defendants’ promotion was a
                                                           substantial contributing factor to the growth in sales
                                                           of opioids
                                                           o     The challenged promotion led to excess
                                                           MMEs of 45% between 1995 and 2018.
      IX           Propose and implement an indirect
                                                           o       Peer-reviewed literature provides examples
                   method of estimating the effect of
                                                           of indirect (residual) methods to measure the impact
                   Defendant promotion on sales
                                                           of promotion on sales using aggregate cross-
                                                           sectional data
                                                           o      Application of this indirect method of
                                                           estimation shows that Defendants’ promotion led to
                                                           excess MMEs of 67% between 1995 and 2016
      X            Examined whether the growth of
                                                           o       Hypothetical treatment of 100% of key
                   opioids could be explained by
                                                           patient groups (end-of-life cancer, trauma, and
                   appropriate use using a hypothetical
                                                           surgical) with guideline-based dosages and durations
                   where all patients who clearly
                                                           would consume only a small fraction (10.7%) of
                   benefit from opoids received
                                                           actual MMEs between 1995 and 2018
                   guideline-based treatment




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 VI.     INDUSTRY BACKGROUND

         Pharmaceutical Demand

         To understand the rationale for and impact of the Defendant manufacturers’ alleged

 behavior, it is necessary to consider both the institutional context of the pharmaceutical

 industry and health care financing. Pharmaceutical markets have features that increase the

 incentives to engage in deceptive marketing schemes; deceptive marketing is both harder to

 detect and more profitable than in many other markets. In this section, I describe the relevant

 features of the prescription drug market, regulatory issues, and third-party reimbursement for

 prescription drugs.

         By way of preface to this section, I highlight several overarching points that are essential

 to the application of economics to the matter at hand. Economic analysis of pharmaceutical

 markets must take into account three key features: (1) the role of physicians as designated

 decision makers (in economic terms, “agents”) for both individual patients and payers; (2)

 information problems that patients, physicians and payers face in evaluating the value of a

 given drug; and (3) the role of public and private third-party payers (e.g., health insurance).

 Physician Agency

         Prescription drugs, unlike typical commodities, can only be purchased with a physician’s

 authorization. Thus, physicians act as a trusted intermediary in prescription drug decision

 making. While patient preferences play a role in the choice of therapy, physicians have

 enormous influence over health care decisions, particularly for serious medical conditions. 20


 20
   See, for example, J. Donohue, M. Cevasco and M. Rosenthal, “A Decade of Direct-to-Consumer Advertising of
 Prescription Drugs,” New England Journal of Medicine, 357(7), 2007, pp. 673-81. Also see Congressional Budget
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 Professional norms encourage physicians to use their clinical skills, knowledge and experience

 to make therapeutic choices that are in the best interest of their patients. In practice, however,

 physicians face numerous constraints, including limited time and ability to digest the

 continuous flow of information about new treatments.21 In many situations, then, physician

 prescription decisions can be heavily influenced by accessible but sometimes imperfect

 information, e.g., detailing visits; published guidelines, algorithms or other practice standards;

 journal advertising. These limitations extend to decision-making about off-label uses of

 prescription drugs as well. Survey data suggest a very mixed picture of physician knowledge

 about the FDA-approved uses – as well as unsafe ones (e.g., uses for which a black-box warning

 has been issued) – of common products.22




 Office (CBO), “Promotional Spending for Prescription Drugs,” December 2, 2009; Families USA, “Off the Charts:
 Pay, Profits and Spending by Drug Companies,” Families USA Publication No. 01-104, July 2001, pp. 1-31 at 1; M.
 Hurwitz and R. Caves, “Persuasion or Information? Promotion and the Shares of Brand Name and Generic
 Pharmaceuticals,” Journal of Law and Economics, 31(2), 1988, pp. 299-320 at 302.
 21
  F. Scherer, “The Pharmaceutical Industry” in Handbook of Health Economics, eds. A. Culyer and J. Newhouse,
 Amsterdam: Elsevier/North-Holland, 2000, pp. 1297-1336 at 1300-02.
 22
   D. Chen, et al., “U.S. physician knowledge of the FDA-approved indications and evidence base for commonly
 prescribed drugs: Results of a national survey,” Pharmacoepidemiology and Drug Safety, 18(11), 2009, 1094-1100.

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 Imperfect Information About Pharmaceutical Products

         Both physicians and patients face an information problem in selecting pharmaceutical

 treatments that challenges typical conclusions about well-functioning markets. 23 Prescription

 drugs fit the economic definition of “experience goods” – they need to be tried for a patient to

 know their value.24 A product that is safe and effective on average may cause side effects in

 some patients and have differential effectiveness based on both known and unknown factors.

 Because some risks and benefits may be observed only over the long term and may be hard to

 attribute clearly to a drug, even experience may not lead patients and their physicians to fully

 understand the risks and benefits of a product. For example, if a patient on a cholesterol

 medication does not have a stroke, is that because of the medication or other protective

 factors such as non-smoking status? Likewise, some risks may occur long after the initial

 prescription and may not be brought to the prescribing physician’s attention, preventing

 learning and adaptation from occurring. For example and in the present matter, the stigma

 associated with opioid addiction likely compounded the information problems faced by

 physicians – patients might have tried to mask their addiction, rather than making their

 physicians aware of these negative “side effects”.25 In light of these information problems, it


 23
   Economics Nobel Laureate, Kenneth Arrow has recognized this in his published research. K. Arrow, “Uncertainty
 and the Welfare Economics of Medical Care,” The American Economic Review, 53(5), 1963, pp. 941-73.
 24
   For experience goods, see P. Nelson, “Information and consumer behavior,” Journal of Political Economy 78(2),
 1970, pp. 311-29. See also M.R. Darby and E. Karni, “Free competition and the optimal amount of fraud,” Journal
 of Law and Economics, 16(1), 1973, pp. 67-88. In some cases, prescription drugs have been labeled credence or
 experience goods because their full effects are not easily observed even after some time. For example, see E.R.
 Berndt, “Pharmaceuticals in U.S. Health Care: Determinants of Quantity and Price,” Journal of Economic
 Perspectives, 16(4), 2002, pp. 45-66. See also T. Iizuka, “Experts’ Agency Problems: Evidence from the Prescription
 Drug Market in Japan,” Rand Journal of Economics, 38(3), 2007, pp. 844-62.
 25
   M. Botticelli and H. Koh, “Changing the Language of Addiction,” Journal of the American Medical Association,
 316(13), 2016, pp. 1361-62.

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 would be reasonable to expect that market forces alone would fail to protect consumers

 against false claims of product efficacy and safety.

 The Role of Public and Private Health Insurance

         Another distinguishing feature of pharmaceutical demand is the widespread presence of

 insurance coverage. As of 2017, approximately 88% of non-elderly adults have insurance

 coverage through a private or public health insurance plan. Since the passage of the Affordable

 Care Act in 2010, prescription drug coverage has been required as part of the essential health

 benefits offered by “qualified health plans” (those that meet the legislation’s individual and

 employer mandates). Insurance coverage among the elderly is virtually universal and among

 those enrolled in Medicare the vast majority have prescription drug coverage either through

 Medicare Part D or a retiree plan.26 Moreover, insurance coverage is relatively comprehensive:

 between 2003 and 2017 the out-of-pocket share of total prescription drug spending dropped

 from 26% to 14%.27 The small share of prescription drug spending that is paid for out-of-pocket

 by U.S. consumers reflects the prevalence of fixed dollar copayments as the most common

 form of cost sharing. Even when copayments are tiered, the top copayment often reflects a

 small share of the full retail price of a drug. The implication of generous insurance coverage is




 26
   Kaiser Family Foundation, “Medicare Prescription Drug Plans: Distribution of Medicare Beneficiaries with
 Creditable Prescription Drug Coverage, by Type” (http://kff.org/medicare/state-indicator/distribution-of-rx-drug-
 coverage/).
 27
   Peterson-Kaiser, Health System Tracker, “What are the recent and forecasted trends in prescription drug
 spending?”(https://www.healthsystemtracker.org/chart-collection/recent-forecasted-trends-prescription-drug-
 spending/#item-percent-of-total-rx-spending-by-oop-private-insurance-and-medicare_nhe-2017).

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 that consumers and their physician-agents will be relatively insensitive to the prices of

 prescription drug therapies.28

            The lack of price sensitivity on the part of physicians and patients due to insurance has

 had two important consequences for the demand for prescription drugs: (1) patients will tend

 to consume more prescription drugs than they would absent coverage and (2) there is less (if

 the consumer pays coinsurance, for example) or no (if the consumer has fixed dollar

 copayments or has exceeded her out-of-pocket maximum) incentive to choose a lower-priced

 product. In economic jargon, these effects together are known as moral hazard. 29 The effect of

 moral hazard is to increase health care spending, while raising the potential for wasted

 resources.


            Regulatory Oversight of Pharmaceuticals


            The Food and Drug Administration (FDA) oversees the availability of pharmaceutical

 products in the U.S. market. Under the Federal Food, Drug, and Cosmetic Act (FDCA), the FDA

 has a limited role in regulation of the promotion of prescription drug products.

            Since 1962, the FDCA and related regulations have required sponsors of new drug

 products to present scientific evidence of both efficacy and safety before a new product can be

 marketed.30



 28
   J. Newhouse and the Insurance Experiment Group, Free for All? Lessons from the RAND Health Insurance
 Experiment, Cambridge, MA: Harvard University Press, 1993.
 29
      J. Bhattacharya, T. Hyde, and P. Tu, Health Economics, New York: Palgrave McMillan, 2014, pp. 204-05.
 30
   FDA, “Significant Dates in U.S. Food and Drug Law History” (http://www.fda.gov/AboutFDA/ WhatWeDo/
 History/Milestones/ucm128305.htm)

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             By regulation, prescription drug labels indicate the diseases, conditions, and/or patients

 for which the sponsor has presented scientifically-required evidence to the FDA. 31

             FDA regulations specify that promotional materials may only make claims that are

 supported by scientific evidence (i.e., supported by studies meeting scientific standards) and

 they may not be false or misleading. The same general requirements apply to both professional

 and consumer-oriented marketing.32

             FDA oversight of drug promotion is intended to ensure that physicians and consumers

 understand both the benefits and risks of a drug. FDA regulations call for “fair balance” in all

 promotional claims and materials. The risks as well as the benefits must be clearly identified,

 and risks must be given appropriate prominence.33




             Pharmaceutical Promotion: Tactics and Evidence of Impact

             During at least the period relevant to this case (about 1995 to the present),

 pharmaceutical companies have employed a variety of promotional tactics for prescription

 drugs. These efforts may be directed at prescribers, patients or payers. Physician-oriented

 marketing efforts include visits or phone calls by pharmaceutical sales representatives to

 physicians (detailing), free samples, print advertising, sponsorship of medical education events

 and influencing treatment guidelines or algorithms. Direct-to-consumer (DTC) advertising of



 31
      See, for example, 21 C.F.R. §202.1(e)(4); 21 U.S.C. §355 (a)-(b); 21 C.F.R. §314.126, and 21 U.S.C. §355(d).
 32
   The category of professional marketing includes detailing, advertising in medical journals, the use of free
 samples, and sponsorship of meetings and events. Consumer-oriented marketing takes the forms of advertising in
 popular magazines, broadcast advertising on radio and television, and internet advertising.
 33
      See, e.g., 21 C.F.R. §202.1.

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 prescription drugs on television, radio, internet and in popular magazines has increased

 substantially over the past two decades, reaching $6 billion in 2016.34 Payor-oriented

 marketing includes seeking to influence formulary placement.35

             Despite the numerous forms of pharmaceutical marketing, marketing to physicians and

 other professionals remains the largest component of pharmaceutical marketing. In total,

 marketing to physicians grew from $15.6 billion in 1997 to $20.3 billion in 2016. 36 The 2016

 figure includes $5.6 billion for detailing, $13.5 billion in free samples, and $979 million in

 “transfers of value” to physicians (e.g., speaking fees, meals) and $59 million for unbranded

 educational campaigns. Because of its economic importance as the leading category of

 promotional spending, promotion to physicians is the most studied form of pharmaceutical

 promotion. Thus, I devote special attention in this section to the role of promotion to

 physicians and its impact on prescribing.

             Pharmaceutical marketing campaigns may directly reach an individual physician, but

 they also have indirect effects through professional networks and peer interactions (see Figure

 1 below).37 As plaintiffs’ marketing expert Dr. Perri states, peer-to-peer marketing acts as a



 34
      Ibid. Also see Rosenthal, et al. (2002), op. cit.
 35
    According to Plaintiffs’ pharmaceutical marketing expert, Dr. Perri, “The record in this case certainly supports the
 proposition that Defendants planned and worked diligently with multiple target audiences, including TPPs and
 PBMs to ensure and maintain formulary coverage for the opioids they marketed.” Expert Report of Matthew Perri,
 III, in this matter, March 25, 2019 (hereafter “Perri Report”), ¶ 40.
 36
  L.M. Schwartz and S. Woloshin, “Medical Marketing in the United States, 1997-2016,” Journal of the American
 Medical Association, 321(1), 2019, pp. 80-96.
 37
    Peer networks may include other physicians in a group practice, with admitting privileges at the same hospital or
 those with whom a physician trained. Practice pattern variation analysis and physician surveys have confirmed the
 flow of information through these networks. See A. Chandra, D. Cutler, and Z. Song, “Who Ordered That? The
 Economics of Treatment Choices in Medical Care,” in Handbook of Health Economics, Volume 2, eds. M. Pauly, T.
 McGuire, and P. Barros, Waltham, MA: Elsevier, Chapter 6.3, at p. 418.

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 form of contagion. “In sum, [Key Opinion Leaders] KOLs are used to “infect” other prescribers

 with favorable opinions regarding a company’s drug.”38

            Moreover, in some product areas including opioids, “unbranded” promotional efforts

 may also affect product sales.39 For example, pharmaceutical companies may sponsor or work

 with professional or consumer advocacy groups to issue new clinical guidelines or develop

 consensus about medical phenomena. In this matter, for example, it is alleged that the

 manufacturer Defendants sponsored the American Pain Society and American Association of

 Pain Medicine efforts to increase the use of opioids to control pain and to promote new

 guidelines for state medical boards to support more aggressive use of opioids. 40 More examples

 of unbranded promotion by Defendants are identified and discussed in the next section.




 38
      Perri Report, ¶ 69.
 39
   T. Alves, et al., “Unbranded advertising of prescription medicines to the public by pharmaceutical companies,”
 Cochrane Database of Systematic Reviews, Issue 7, 2017, Art. No. CD012699.
 40
   Dr. Perri concludes that Defendants’ payments to professional and patient advocacy groups served a marketing
 purpose. For example, he notes: “Advocacy support by Defendants also was extended to groups like the Joint
 Commission on Accreditation of Hospitals (JCAHO) and the Federation of State Medical Boards (FSMB) both of
 which distributed guidelines or standards for opioid use.” (Perri, ¶¶ 71).

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                                                     FIGURE 1
                                                PROMOTION ECOSYSTEM




            As Figure 1 illustrates, physicians do not need to be detailed directly or otherwise

 exposed to company marketing materials individually to be influenced due to peer networks

 and the role of consumer demand. A study by Coleman concluded that there are two separate

 diffusion processes going on among physicians. 41 “Isolated” physicians are influenced only by

 “external” influences, such as journal articles and contacts with detail people. But the vast

 majority of doctors are integrated into professional and social networks. For this latter group,




 41
      J.S. Coleman, E. Katz, and H. Menzel, Medical Innovation: A Diffusion Study, Indianapolis: Bobbs-Merrill, 1996.

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 external influences affect a few of them, referred to as “early adopters,” and they go on to

 “infect” others.

          Interest in the influence of pharmaceutical companies on physician decision making has

 motivated numerous studies in the clinical literature on the impact of promotion on physician

 beliefs, knowledge and self-reported behavior.42 I highlight a few of the most salient examples

 of this extensive literature.

          Avorn, Chen and Hartley43 analyzed physician beliefs about the sources of influence on

 their prescribing as well as indirect evidence of the true source of physician information.

 Physicians were asked to report their beliefs about the pharmacologic effects of two classes of

 drugs where the scientific evidence had clearly shown little or no benefit while the

 manufacturers had advertised heavily to promote the products as superior to the therapeutic

 alternatives. Although physicians reported that commercial sources of information had little

 influence on their prescribing habits, the majority held beliefs about the two classes of drugs

 that were consistent with the detailing message and at odds with the scientific evidence.

 Importantly, the findings show not only that physicians can be influenced by false product

 claims, but also that asking physicians whether their views on the benefits and risks of a



 42
    E. Clayton, “‘Tis Always the Season for Giving,” CALPIRG Report, September 2004, pp. 1-9; Editorial Staff,
 “Pharmaceutical Marketing to Physicians: Free Gifts Carry a High Price,” American Medical News, June 10, 2002; A.
 Wazana, “Physicians and the Pharmaceutical Industry,” Journal of the American Medical Association, 283(3),
 January 19, 2000, pp. 373-80; A. Fugh-Berman, “The Corporate Coauthor,” Journal of General Internal Medicine,
 20(6), 2005, pp. 546-48; P. Manchanda and E. Honka, “The effects and role of direct-to-physician marketing in the
 pharmaceutical industry: an integrative review,” Yale Journal of Health Policy Law & Ethics, 5, 2005, pp. 785-812; C.
 DeJong, et al., “Pharmaceutical Industry-Sponsored Meals and Physician Prescribing Patterns for Medicare
 Beneficiaries,” JAMA Internal Medicine, 176(8, 2016, pp. 1114-22.
 43
   J. Avorn, M. Chen, and R. Hartley, “Scientific Versus Commercial Sources of Influence on the Prescribing Behavior
 of Physicians,” American Journal of Medicine, 73(1), 1982, pp. 4-8.

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 particular treatment were shaped by pharmaceutical sales representatives or other

 promotional tactics is a poor method of identifying whether or not promotion is persuasive.

 This is hardly surprising and further support for the empirical methods preferentially used by

 economists, which follow the logic of “revealed preference” (making inferences based on what

 subjects do, rather than what they say).44

         While the Avorn, Chen and Hartley study suggests that physicians do not recognize their

 own vulnerability to commercial influences, physicians do generally perceive pharmaceutical

 marketing to be effective when surveyed.45 However, they deny that gifts and payments could

 influence their prescribing behavior;46 indeed, receipt of gifts from the industry was associated

 with the belief that pharmaceutical representatives have no impact on prescribing behavior. 47

         Numerous studies have examined the association between specific types of physician

 behavior and the extent of contact with pharmaceutical representatives, receipt of free

 samples, attendance of company-sponsored events, or receipt of gifts. These studies have




 44
  M. Bertrand and S. Mullainathan, “Do people mean what they say? Implications for subjective survey data,”
 American Economic Review, 91(2), 2001, pp. 67-72.
 45
   Dr. Perri also concludes that: “Physicians may not be able to easily discriminate between promotional
 information and scientific evidence.” He cites: F. Fickweiler, W. Fickweiler, and E. Urbach, “Interactions between
 physicians and the pharmaceutical industry generally and sales representatives specifically and their association
 with physicians’ attitudes and prescribing habits: A systematic review,” BMJ Open, 7, 2017, e016408. Perri Report,
 ¶ 62.
 46
    A. Wazana, op. cit. See also J. Dana and G. Loewenstein, “A Social Science Perspective on Gifts to Physicians
 From Industry,” Journal of the American Medical Association, 290(2), 2003, pp. 252-55. Physician denial of the
 influence of industry communication, samples and gifts (including free medical education) may be understood in
 the context of extensive findings from behavioral psychology regarding unintentional and subconscious biases.
 47
   W. Sandberg et al., “The Effect of Educational Gifts from Pharmaceutical Firms on Medical Students’ Recall of
 Company Names or Products,” Academic Medicine, 72(10), 1997, pp. 916-18; B. Hodges, “Interactions with the
 Pharmaceutical Industry: Experiences and Attitudes of Psychiatry Residents, Interns and Clerks,” Canadian Medical
 Association Journal, 153(5), 1995, pp. 553-59.

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 demonstrated a positive effect of pharmaceutical promotion and company-sponsored

 continuing medical education (CME) on the following:


             Formulary requests;48


             Prescribing of new drugs vs. older, generic products;49 and

             Prescribing of the specific product that was being promoted. 50

              In addition to studies in the clinical literature, which are typically descriptive, a relatively

 rich empirical literature in economics and marketing has developed in recent decades on

 quantifying the the impact of promotion on pharmaceutical sales. These studies estimate the

 responsiveness of product sales to own and competitor marketing expenditures. In most cases,

 the results are expressed as elasticities, which are defined as the ratio of the percentage change

 in unit sales for a given percentage change in promotion. For example, if a study found an

 elasticity of promotion of 0.70, that would indicate that a 10% increase in promotion would

 increase unit sales by 7%. Estimates vary across studies, in part due to differences in the classes

 of drugs studied, the product lifecycle, time periods, and the research designs implemented.




 48
   M. Chren and C. Landefeld, “Physicians’ Behavior and Their Interactions With Drug Companies: A Controlled
 Study of Physicians Who Requested Additions to a Hospital Drug Formulary,” Journal of the American Medical
 Association, 271(19), 1994, pp. 684-89. G. Spurling, et al., “Information from pharmaceutical companies and
 the quality, quantity, and cost of physicians' prescribing: A systematic review,” PLoS Medicine, 7(10), 2010,
 e1000352 (finding “With rare exceptions, studies of exposure to information provided directly by pharmaceutical
 companies have found associations with higher prescribing frequency, higher costs, or lower prescribing quality or
 have not found significant associations.”)
 49
  M. Peay and E. Peay, “The Role of Commercial Sources in the Adoption of a New Drug,” Social Science &
 Medicine, 26(12), 1988, pp. 1183-89.
 50
      Ibid.

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          There is notable consensus, however, that promotional effects are long-lived. This

 concept is measured in the literature by examining the relationship between sales and the

 stock of promotion: the cumulative amount of promotion, subject to discounting over time.

 Research suggests that depreciation rates for promotional stocks are close to zero, which

 means that the effects of past promotion continue almost indefinitely into the future. One

 possible reason for these long-lived effects is habit formation, both on the part of doctors and

 patients. Representative findings from the economics and marketing literature include the

 following:


         A study by Azoulay investigated the impact of both pharmaceutical company

          promotional efforts and scientific publications on prescribing behavior in the case of

          anti-ulcer drugs. He finds a significant effect on sales for both types of communication,

          with promotional efforts (specifically detailing flows) having a larger effect. 51 Detailing

          elasticities of demand for the four drugs studied range from approximately 0.7 to 1.2. 52


         Berndt, et al.53 distinguish between “industry expanding” and “rivalrous” marketing

          efforts, and find that for anti-ulcer medications, cumulative spending (i.e., stocks) on

          both medical journal and physician detailing increases own-brand sales. They also find



 51
   P. Azoulay, “Do Pharmaceutical Sales Respond to Scientific Evidence?” Journal of Economics and Management
 Strategy, 11(4), 2002, pp. 551-94. It should be noted that because many scientific studies of prescription drugs are
 funded by the manufacturer the separation between promotion and scientific evidence that Azoulay assumes may
 not, in reality, exist. L. Friedman and E. Richter, “Relationship Between Conflicts of Interest and Research Results,”
 Journal of General Internal Medicine, 19(1), 2004, pp. 51-56.
 52
   The elasticity measures the size of the proportional increase in sales relative to the size of the proportional
 increase in promotional spending inducing that sales increase. The elasticity estimates are found to vary with
 number of therapeutic competitors in the market.
 53
   E. Berndt, et al., “Information, Marketing and Pricing in the U.S. Antiulcer Drug Market,” American Economic
 Review, 85(2), 1995, pp. 100-05.

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          that market-expanding promotion (e.g., marketing that increases awareness of the

          existence of a new use for a drug) depreciates very slowly. The paper contains

          estimates of marketing elasticities of 0.5 and 0.2 at the class level for the stock of

          spending on detailing and professional journal advertising, respectively. They also

          report that the impact of total class marketing efforts on total class sales is positive, and

          generally (but not always) declines with the number of products on the market.


         Rizzo54 reports that for antihypertensive drugs, both stocks and flows of detailing

          expenditures decrease the price elasticity of demand over time because promotional

          expenditures create greater brand loyalty. Thus, in addition to increasing the sales of

          marketed drugs, promotion may also increase perceived product differentiation, market

          power, and prices.

          In the marketing literature, scholars have tended to focus on how manufacturers target

 promotional spending – examining questions about the effectiveness of detailing the same

 physicians repeatedly vs. spreading resources across a larger number of physicians. I summarize

 findings from some examples of this literature as follows:


         Manchanda and Chintagunta55 use physician-specific data on detailing visits and

          prescriptions to examine the importance of the distribution of marketing efforts across

          targets. They find that detailing has a significant positive impact on the number of




 54
   J. Rizzo, “Advertising and Competition in the Ethical Pharmaceutical Industry: The Case of Antihypertensive
 Drugs,” Journal of Law and Economics, 42(1), 1999, pp. 89-116.
 55
   P. Manchanda and P. Chintagunta, “Responsiveness of Physician Prescription Behavior to Salesforce Effort: An
 Individual Level Analysis,” Marketing Letters, 15(2-3), 2004, pp. 129-45.

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          prescriptions written for a drug by the physician, that this marginal impact increases

          when free product samples are also provided to the physician, and that for the majority

          of physicians in their sample, diminishing (though still positive) returns to detailing had

          already set in.


         Gonul, et al.56 use similar data and a similar analytic approach to examine the impact of

          price, patient insurance, detailing and samples on brand choice within a specific

          therapeutic class. The authors find that both detailing and free samples increase the

          probability that a drug is prescribed.


         Datta and Dave57 analyze effects of detailing and sampling of a branded drug indicated

          for the treatment of herpes infections, using data on 149,000 individual physicians over

          a 24-month period. They find that detailing of the drug significantly increased its

          prescribing among sample physicians, while decreasing prescribing of other brand drugs

          that treat the same condition.


         Mizik and Jacobson58 study detailing of three drugs to a sample of 74,075 individual

          physicians over a 24-month period. For all three drugs, both detailing visits and free

          samples had positive and statistically significant effects on prescribing levels, although

          the magnitudes of estimated effects were relatively modest.




 56
  F. Gönül, et al., “Promotion of Prescription Drugs and Its Impact on Physicians’ Choice Behavior,” Journal of
 Marketing, 65(3), 2001, pp. 79-90.
 57
   A. Datta and D. Dave, “Effects of Physician-directed Pharmaceutical Promotion on Prescription Behaviors:
 Longitudinal Evidence,” Health Economics, 26(4), 2017, pp. 450-68.
 58
  N. Mizik and R. Jacobson, “Are Physicians ‘Easy Marks’? Quantifying the Effects of Detailing and Sampling on
 New Prescriptions,” Management Science, 50(12), 2004, pp. 1714-15.

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          Promotional efforts by drug manufacturers have also been shown to affect physician

 decision making regarding off-label uses. Indeed, the widespread nature of off-label use, with

 and without scientific evidence to support use suggests that there are ample incentives for

 manufacturers to engage in these tactics.59 In one study of this phenomenon, Steinman, et al.

 fielded a survey of physicians who were visited by drug representatives who delivered

 promotional messages that were classified as approved (on-label), unapproved (off-label) or a

 combination of both. 60 The physicians were then asked about whether those messages, along

 with other attributes of the detailing visit, would influence their future decisions of whether to

 prescribe or recommend the drug for the purpose described by the pharmaceutical

 representative. The authors found statistically similar impacts of approved messages and

 unapproved messages on physicians’ intentions to prescribe.61

          Larkin, et al.,62 also demonstrated that pharmaceutical marketing causes off-label use.

 The paper took advantage of a natural experiment among 23 academic medical centers (AMCs),

 of which some introduced policies restricting detailing, and some did not. Of the 23 AMCs, 15

 centers introduced policies restricting detailing during the study period; these centers formed

 the intervention group. The remaining 8 AMCs did not have any change in policies during the

 study period and formed the control group. The study focused on 38 antidepressant and


 59
   D. Radley, S. Finkelstein, and R. Stafford, “Off-label prescribing among office-based physicians,” Archives of
 Internal Medicine, 166(9), 2006, pp. 1021-26.
 60
   M. Steinman, et al., “Characteristics and impact of drug detailing for gabapentin,” PLoS Medicine, 4(4), 2007, pp.
 743-51.
 61
   Ibid., p. 743. In drawing inferences from this finding, the authors conclude “physicians reported similar increases in
 future prescribing or recommending of gabapentin after exposure to approved or unapproved messages.” p. 747.
 62
   I. Larkin, D. Ang, J. Avorn, and A. Kesselheim, “Restrictions on Pharmaceutical Detailing Reduced Off-label
 Prescribing of Antidepressants and Antipsychotics in Children,” Health Affairs, 33(6), 2014, pp. 1014-23.

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 antipsychotic drugs that were prescribed for children. The authors found that eliminating

 detailing caused prescriptions for off-label use of promoted drugs to fall by 11 percent, relative

 to the control group, “consistent with the ongoing presence of off-label marketing.”63 While

 reductions in on-label uses of promoted drugs were greater (34%), this finding does not

 necessarily suggest that on-label marketing is more effective because there is no measure here

 of the relative intensity of on- vs. off-label marketing efforts pre-intervention.

             I conclude that the observed importance of promotional activities in the pharmaceutical

 industry and the findings of rigorous empirical analyses relating promotion to sales establish a

 causal link between pharmaceutical promotion and sales. Empirical research also demonstrates

 that promotion can increase off-label as well as approved uses of products.

             Furthermore, I find that physicians can be misled by commercial messages that are

 inconsistent with scientific evidence. This conclusion is supported by direct ascertainment of

 physician beliefs64 and by previous analyses of successful marketing campaigns for unapproved

 uses of prescription drugs.65 To the extent that information is false, incomplete or misleading,

 physicians can be misled.




 63
      Ibid., p. 1014.
 64
   J. Avorn, M. Chen, and R. Hartley, “Scientific Versus Commercial Sources of Influence on the Prescribing Behavior
 of Physicians,” American Journal of Medicine, 73(1), 1982, pp. 4-8.
 65
      Steinman, et al., op. cit.

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 VII.    PROMOTION AND OPIOIDS

         Published Research

         The opioid epidemic has spurred both investigative journalism and academic research

 into the causes of increased opioid prescribing. Some of this work focuses on the promotional

 activities of manufacturers including the Defendants. For example, Zee, 66 writing on Purdue’s

 marketing efforts for oxycontin notes the following: “When Purdue Pharma introduced Oxy-

 Contin in 1996, it was aggressively marketed and highly promoted. Sales grew from $48 million

 in 1996 to almost $1.1 billion in 2000.” Zee identifies a number of other promotional activities

 that contributed to the increase in sales, despite comparable efficacy to other products

 available (e.g., oxycodone). For example, he notes that Purdue conducted more than 40

 national pain management and speaker training conferences from 1996 to 2001 and funded

 more than 20,000 pain-related educational programs.

         A recent study by Hadland et al.67 found that between 2013 and 2015 over 375

 thousand non-research payments involving a marketed opioid product were made to over 68

 thousand US physicians (representing 1 in 12 active physicians) totaling over $46 million. In a

 subsequent article, Hadland et al.68 find that among physicians who prescribed to Part D

 enrollees, those physicians who received payments in 2014 had increased prescribing in 2015

 compared with physicians who received no payments.


 66
  A. Van Zee, “The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,”
 American Journal of Public Health, 99(2), 2009, pp. 221-27.
 67
  S.E. Hadland, M.S. Kreiger and B.D. Marshall, “Industry Payments to Physicians for Opioid Products, 2013-2015,”
 American Journal of Public Health, 107(9), 2017, pp. 1493-95.
 68
   S.E. Hadland, et al., “Association of Pharmaceutical Industry Marketing of Opioid Products to Physicians with
 Subsequent Opioid Prescribing,” JAMA Network Open, 2(1), 2019, p. e186007.

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            Similarly, the New York State Health Foundation69 found that “roughly 1 in 10 physicians

 who prescribe opioids received a payment, and physicians who prescribe more opioids got

 more opioid-related payments. Even though most of these payments are relatively small, the

 data show clear links between payments from manufacturers and increased opioid

 prescribing.”

            While these latter two studies demonstrate the magnitude of industry “transfers of

 value” to physicians related to opioid prescribing, they do not attempt to identify a causal

 effect of marketing on sales. As the authors acknowledge, the contemporaneous association

 between payments and prescriptions may be caused by industry targeting of payments to high

 prescribers.


            The Defendants’ Own Materials Recognize the Effects of Promotion on Opioid Sales

            Given the enormous profits that manufacturers can earn on pharmaceutical sales and

 the billions of dollars that are devoted to marketing, it is not surprising that manufacturers

 engage in systematically tracking promotional efforts.70 As noted above for the industry as a


 69
   New York State Health Foundation, “Follow the Money: Pharmaceutical Manufacturer Payments and Opioid
 Prescribing Patterns in New York State,” June 2018 (https://nyshealthfoundation.org/wp-content/uploads/
 2018/06/following-the-money-pharmaceutical-payments-opioid-prescribing-june-2018.pdf).
 70
      For examples:
           Allergan has analyzed profitability of its Adherence Program (ALLERGAN_MDL_00221533 at 534-543;
            ALLERGAN_MDL_00450170 at 176-185).
           Endo has analyzed the profitability of specific programs such as promotional speaker programs
            (EPI001514810 at slide 35); Instant Savings Card programs (EPI001514810 at slide 52; ENDO00563922 at
            923-936 and 945); as well as profitability of general detailing and marketing activities (ENDO-CHI_LIT-
            00214471 at slides 8-66).
           Janssen has analyzed the profitability of detailing (JAN-MS-00309600 at slides 7-9; JAN-MS-00314171), as
            well as for specific marketing programs such as E-marketing, Health Resource Newsletter, Sample
            Voucher Program, Visiting Professor program, Pain Experts Fellowship Program, and Desk Calendar (JAN-
            MS-00494171 at slides 12-16, 47, and 54).

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 whole, documents obtained through discovery in this matter suggest that detailing is the

 largest category of promotional spending.71 Unbranded promotion, which includes “help-

 seeking” advertisements as well as the funding of research, lobbying groups, and interest

 groups can also affect sales,72 often with classwide effects.



           Mallinckrodt has analyzed how to maximize profitability for its detailing efforts (MNK-T1_0000947739 at
            742-743).
           Purdue has analyzed the profitability of its biggest promotional for OxyContin, presentations to high
            decile HCPs and the OxyContin Savings Card Program (PPLP003449398 at 402), repeatedly and across
            prescriber specialties (PPLPC012000395903 at slides 14-22; PPLPC025000145757 slides 22-26 and 40-49;
            PPLPC025000147119 at slides 6-17; PPLPC025000148523 at slides 8-22).
           Teva has analyzed the extent that different promotional activities drive new prescriptions as well as these
            programs profitability across time (TEV_FE00114124 at 134-140; TEV_FE00114319 at 327-328;
            TEVA_MDL_A_00556014 at slides 5-16; TEVA_MDL_A_00755335 at 339-346 and 358-359;
            TEVA_MDL_A_00886031 at slides 5-6, 19, 35, and 56; TEVA_MDL_A_01205575 at slide 3).
 71
      For examples:
           From the years 1995-2002, 2005-2006, 2008-2009, and 2011-2014, Purdue allocated 86.5% of their
            OxyContin marketing budget to detailing: PKY181266046 at 047 and 049; PKY183222319 at 416 and 417;
            PKY180246682 at 914; SHC-000001119 at 162; PKY181678793 at 844; CHI_000169914 at 962;
            PPLP003420958 at 989; PPLP003420990 at 034 and 035; PDD9273201211 at 223 and 224;
            PDD9273201289 at 309 and 310; PPLP003420538 at 560 and 561; PPLP003421452 at 470;
            PPLP004134382 at 430.
           From the years 2010-2014, Mallinckrodt allocated 73.5% of their Exalgo marketing budget to detailing:
            MNK-T1_0000929284; MNK-T1_0000708777 at 968; MNK-T1_0000913808.
           From the years 2009-2012, Endo allocated 69.3% of their Opana marketing budget to detailing:
            EPI001466339 at slide 76; ENDO-CHI_LIT-00439415 at slide 55.
 72
      For examples:
           Purdue made payments to Partners Against Pain part of OxyContin according to annual marketing plans
            (“2010 Budget Submission” (2009), PDD9273201211 at 224; “OxyContin Annual Marketing Plan” (2014),
            PPLP003425040 at 062). Purdue also funded “the very first meeting of the AAPM/APS/ASAM leadership
            […] to begin the collaboration that eventually led to the Consensus statement on definitions of pain and
            addiction” and the Federation of State Medical Boards (FSMB) to create documents such as “Responsible
            Opioid Prescribing: A Physician’s Guide” to promote the use of opioid analgesics (PPLP003477086 at 109).
           Endo established the National Initiative on Pain Control (NIPC) in 2001. Between 2003-2012 Endo paid the
            NIPC tens of millions (MDL_KP360_000000002). From 1999-2012 Endo reported to have paid groups
            including the American Pain Foundation (APF) ($5.94 million), American Academy of Pain Medicine
            (AAPM) ($1.31 million), American Pain Society (APS) ($4.47 million), American Geriatrics Society (AGS)
            ($0.34 million), Joint Commission on Accrediation (formerly JCAHO) ($0.75 million), and the Federation of
            State Medical Boards (FSMB) ($0.37 million) (ENDO-OR-CID-00718227 at sheet “All Payments”).
           Janssen made payments to the American Academy of Pain Management (AAPM), the American Pain
            Foundation (APF), the American Pain Society (APS), the American Geriatric Society (AGS), and others (JAN-
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            Discovery materials produced in this matter show that the Defendants tracked

 promotional effectiveness and used data to target their salesforce, messaging and other

 resources to increase sales. Promotional strategy documents often feature estimates of the

 return on investment (ROI) for individual tactics or messages. The ROI, expressed as a multiple

 or percentage, provides an indication of the dollars of profit earned per dollar of marketing

 expenditure.

            The ROI for detailing visits found in documents is consistently high for Defendant

 promotion of brand opioid drugs in this case. Examples include Fentora (Teva) for which some

 messages had ROIs of 500% in 2014, 136% in 2013, 168% in 2012, and 462% in 2010 73;

 Duragesic (Janssen) where the manufacturer’s analysis showed that detailing not only resulted

 in new prescriptions in the current period but also in future time periods upwards of 11

 months after the detail74; and Exalgo (Mallinckrodt) where documents show that the

 manufacturer fine-tuned detailing contacts based on profitability calculations. 75 Purdue

 similarly reported ROIs as high as 370% for detailing OxyContin to high decile healthcare

 providers.76




            MS-00264548 at Sheet1). Janssen’s payments to the National Pain Education Council (NPEC) were part of
            a strategy to increase prescriptions by “Strategy: Leveraging Functionality to differentiate DURAGESIC as
            the optimal Long Acting Opioid” (DURAGESIC The Tipping Point, 2003 Tactical Plan” (2003), JAN-MS-
            00494171 at slide 35.)
 73
   “Fentora Marketing Mix Analysis Impact Assessment Findings Review” (2014), TEVA_MDL_A_02767666 at 673;
 “2014 Teva Portfolio Mix Planning” (2013), TEVA_MDL_A_00886031 at slide 19; Fentora – Promotional Response
 Study” (2010), TEVA_MDL_A_00556014 at slide 12.
 74
      “Strike Force Sales Rep Alignment: Feasibility Analysis from ROI Perspective” (2003), JAN-MS-00309600 at slide 8.
 75
      “Exalgo Detail ROI Analysis” (2013), MNK-T1_0000947739 at 742-743.
 76
      “OxyContin Tablets Promotional Planning” (2013), PPLP003449398 at 402.

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            The Defendants calculated positive ROIs for non-detailing promotional activities as well.

 For example, in 2009 Allergen found a positive ROI for a prescription adherence program used

 in its marketing of Kadian that actually grew with time from 9.8:1 after 6 months to 15.9:1 after

 12 months.77 Endo similarly reported a positive ROI that increased with time for promotional

 speaker programs for Opana ER, eventually reaching nearly 200% at the end of the 28 week

 long study.78 Janssen reported ROIs for a diverse set of non-detailing promotional activities for

 Duragesic in 2002, including e-marketing (2:1), a Health Resource Newsletter (2:1), sample

 voucher program (13:1), its investments in National Pain Education Council (NPEC), and

 Regional Advisory Boards.79

            Other forms of promotion have also been reported for opioids, including practices that

 have been the subject of prior litigation. In 2007, Purdue Pharma LLC acknowledged in a guilty

 plea that certain employees “with the intent to defraud or mislead, marketed and promoted

 OxyContin as less addictive, less subject to abuse and diversion, and less likely to cause

 tolerance and withdrawal than other pain medications.”80 Another example, currently in trial,

 concerns executives for Insys Therapeutics who are charged with paying kickbacks, wire fraud,

 mail fraud and racketeering conspiracy.81 Under questioning by prosecutors, former Insys CEO

 Michael Babich, who pleaded guilty to conspiracy and fraud, “reviewed dozens of Insys e-mails

 that have been entered into evidence. He said high-ranking executives at Insys painstakingly


 77
      “Kadian Patient Persistency and In-Class Case Study” (2009), ALLERGAN_MDL_00450170 at 176-78 and 184-85.
 78
      “2009 OPANA Brand Plan” (2008), EPI001514810 at slide 35.
 79
      “DURAGESIC The Tipping Point” (2002), JAN-MS-00494171 at slides 12-58.
 80
      US v. Purdue Frederick Co., Inc., 495 F. Supp. 2d 569 (W.D. Va. 2007).
 81
      U.S. v. Kapoor, 16-cr-10343, U.S. District Court, District of Massachusetts.

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 identified doctors around the country who had a history of prescribing opioids, then wooed

 those physicians and funneled what he called bribes to them through a sham speakers

 program.”82 Further, according to Babich “the company’s budget included sales bonuses tied to

 the dosage of the Subsys prescriptions. A prescription for the 1,600-microgram dose would

 earn a sales person a bonus of $1,830.”83

            Discovery materials underscore that opioid pharmaceutical marketing efforts are

 national in scope. In particular, marketing messages are developed for the U.S. as a whole and

 disseminated through regional salesforces.84


 VIII.      ECONOMETRIC ANALYSIS – DIRECT APPROACH

            As noted above, I use two analytic approaches to quantify the impact of promotion on

 the the number of MMEs of opioids sold over the damage period: a “direct” method (in that the

 method models the impact of a particular mechanism, promotion, on sales) and an “indirect”

 method (in that the method permits an inference that a remaining mechanism, promotion, was




 82
   J. Saltzman, “In rap video, Insys opioid salesmen boasted of their prowess,” Boston Globe, February 13, 2019
 (https://www.bostonglobe.com/business/2019/02/13/rap-video-opioid-salesmen-boasted-their-prowess/
 YsPTTbiDYDq1ZIpEtobmXL/story.html).
 83
    J. Lawrence, “Sales Team Rap Video Adds to John Kapoor’s Woes at Opioid Trial,” Bloomberg, January 13, 2019
 (https://www.bloomberg.com/news/articles/2019-02-13/opioid-rap-video-adding-to-john-kapoor-s-woes-at-insys-
 trial).
 84
      See deposition testimony given in this matter by Defendants:
         Deposition of Julie Snyder, Allergan (November 2, 2018), 271:5-24; 272:1-3.
         Deposition of Ronald Perry Wickline, Endo Labs (November 13, 2018), 197:6-25.
         Deposition of Kimberly Deem-Eshleman, Janssen (November 15, 2018) 55:9-15.
         Deposition of Kimberly Deem-Eshleman, Janssen (November 15, 2018) 129:1-15.
         Deposition of Sally Riddle, Purdue (December 6, 2018), 49: 1-8; 50: 1-25; 51: 1-3.
         Deposition of Phil Cramer, Purdue (November 19, 2018) 177:23-25; 178:1-23.
         Deposition of John Hassler, Teva (November 16, 2018) 275:14-24; 276:1-5.
         Deposition of Kevin Vorderstrasse, Mallinckrodt (December 5, 2018) 269: 19-24; 270: 1-13.
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 causal). In this Section I describe and implement the direct approach to quantify the impact of

 the alleged misconduct. The direct estimation approach relates promotion to sales of opioids,

 using market-level data and a dynamic approach that I detail below. The indirect approach is

 described and implemented in Section IX.

         In this section, I also present a descriptive analysis using the same market-level data that

 shows that dosing of opioids (measured as MMEs per prescription) escalated over time.

 Additional tables and charts are included in Attachment C and a technical discussion of the

 regression model, results and sensitivity tests are included in Attachment D.


         Data Source and Trends

         The primary data I use for the direct analysis come from the data tracking and

 consulting firm IQVIA. IQVIA maintains a number of data streams that capture information on

 sales, promotion, and other statistics by individual drug over time. These data are widely used

 by industry participants to monitor competitive conditions, track market growth, and identify

 strategic opportunities. They are also commonly used for academic research and economic

 analysis of pharmaceutical markets performed in the context of litigation such as this. The

 specific IQVIA products I incorporate into my econometric analysis include: the National

 Prescription Audit (NPA) and the Integrated Promotional Service (IPS). The NPA tracks sales of

 prescription drugs in retail outlets by drug by month including the retail transaction price (the

 amount actually paid to the pharmacy), the number of extended units (these are often pills or

 capsules but also include units of liquids) and the number of prescriptions. We convert

 extended units into MMEs using published conversion factors that are drug-specific.



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                                                                                                            IPS

 includes survey-based information from office-based practices about detailing and free samples

 by drug, as well as tracking of professional journal and direct-to-consumer advertising.

            To set the stage for my analysis in this matter, I begin with a summary of data on sales

 and promotion for the opioid products at issue. In addition, a timeline of key events is included

 here for context.

            Figure 2 shows monthly sales of the opioid drugs at issue in this matter, in both

 extended units and morphine milligram equivalents (MMEs).85 These sales are national from

 1993 through May 2018.86 As can be seen in the figure below sales grew steadily until 2011

 when sales peaked at more than 1.2 billion extended units and 19 billion MMEs per month.

 Since then sales in both extended units and MMEs have fallen steadily. Notably, the growth in

 opioid sales starts slowly in 1993 (with an average growth of 414 million extended units per

 year) but accelerates substantially as it climbs towards its peak (the average increase in

 extended units between 2000 and 2011 was 823 million per year). Opioid sales fell by an

 average of 704 million extended units per year after 2011.87




 85
   Extended units are the units used in the IQVIA data to record dispensed amounts of the drug (e.g., tablets).
 MMEs convert extended units into morphine equivalents. MME conversion factors used in this report are from
 Centers for Disease Control, “Data Resources: Analyzing Prescription Data and Morphine Milligram Equivalents
 (MME)” (Excel spreadsheet available at https://www.cdc.gov/drugoverdose/resources/data.html) and Excellus
 Blue Cross Blue Shield, “Summary of Opioid POS for CY19” ( https://www.excellusbcbs.com/wps/wcm/
 connect/4c541bc8-d8e2-41a1-9bba-83bbe1516ba6/Medicare+D+Formulary-
 Level+Cumulative+Opioid+and+Opioid++Buprenorphine+POS+Edits_03_01_2018.pdf?MOD=AJPERES&CACHEID=4c
 541bc8-d8e2-41a1-9bba-83bbe1516ba6).
 86
   Note that while the plaintiffs intend to prove misconduct beginning in 1995, I use all the data available to me
 through IQVIA to estimate the most robust model possible. All but-for calculations begin in 1995.
 87
      Based on calculations using IQVIA NPA, ARCOS, and CDC data, as detailed in Attachment D.

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                                                 FIGURE 2
                     SALES OF OPIOID DRUGS IN EXTENDED UNITS AND MMES, 1993-2018




          Figure 3 shows the trend in MMEs per prescription for the same group of opioid drugs.

 The figure demonstrates that dosing in MMEs increased over time in a similar pattern to overall

 sales, although the timing of its peak was somewhat later/earlier than the peak number of

 MMEs. These data show that patients receiving opioid prescriptions took home larger doses

 over time. The average dose per prescription more than tripled from 1993 to its peak in the

 2010s.




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                                               FIGURE 3
                             MMES PER PRESCRIPTION, ALL OPIOIDS, 1993-2018




         Figure 4 shows the number of detailing contacts for the opioid drugs at issue from 1993

 to May 2018 (blue line, with scale on left axis). Detailing, which is undertaken by the brand-

 name drugs in the class, typically peaks during initial launch and ceases shortly before or after

 AB-rated (bioequivalent) generic drugs enter. As can be seen in the figure the number of

 detailing contacts per month ebbed and flowed during the 1993-2018 period. All Defendant

 brand-name drug manufacturers promoted their products through detailing during the period

 of the alleged misconduct. For each brand-name manufacturer Defendant Attachment C lists

 the products at issue, and shows their aggregate MMEs and detailing contacts. Figure 4 also

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 shows estimates of the stock of promotion using alternative depreciation rates (scale on right

 axis). At a depreciation rate of 0%, the stock reflects the cumulative amount of detailing

 undertaken to date; by the end of the period, over 10,000,000 detailing visits had taken place.


                                                  FIGURE 4
                                          DETAILING FOR ALL OPIOIDS




 The Rationale for and Implications of Using Detailing as the Measure of Conduct

         The manufacturer Defendants used a panoply of both branded and unbranded

 marketing tactics to increase opioid sales. While documents produced in discovery show many




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 examples of such promotional efforts beyond detailing 88 that I understand Plaintiffs intend to

 prove were illegal, for the purposes of my econometric analysis, I rely on detailing contacts (i.e.,

 the number of visits to physicians and other providers) to measure promotion for several

 reasons. First, for opioid products, detailing is by far the dominant form of promotion. 89 IQVIA

 reports no spending for professional journal advertisements and direct-to-consumer advertising

 for the opioid products relevant to this litigation. While there is some report of free samples,

 the number extremely low over the period, particularly after 2000. Second, pharmaceutical

 marketing programs typically combine various forms of marketing such that, were there to be

 an increase or decrease in promotional detailing, it is reasonable to expect that some other

 forms followed that course. From an econometric standpoint, detailing is a good proxy for total

 promotional effort. Third, alternative measures of promotion that I could obtain from available

 sources have substantial missing data (e.g., estimates of payments to pain advocacy groups can

 only be obtained from the records of some but not all manufacturers for a subset of years) and

 would restrict my ability to examine the impact of promotion on sales over the entire period of

 interest. Note that in this case, there appears to be substantial evidence that through means

 other than promotional spending the Defendant manufacturers fundamentally changed opioid

 prescribing standards. The direct approach does not calculate the effects of the non-

 promotional marketing, and is thus conservative. In short, I am confident in my direct-method



 88
   For examples, see CHI_000169914 at 962 and 963; JAN-MS-00494171 at slides 12-52; MNK-T1_0000913808;
 TEV_FE00030796 at 802 and 804; EPI000300652 at slide 80; and ALLERGAN_MDL_00450170, as well as
 documents cited in footnotes 70-71 above.
 89
   In his report, Dr. Perri also cites the importance of “personal selling” quoting an Endo document that states:
 “Sales force detailing is the most impactful tactic, detailing accounts for ~35-65% of all sales and marketing
 impact.” Perri Report, ¶ 59.

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 estimates not only because of the relative importance of detailing, but also because detailing is

 often used in concert with other forms of promotion including samples and yields conservative

 results.

            Figure 5 is a timeline of key events. According to Plaintiffs’ experts and the published

 literature, the perceptions of physicians and the public evolved as a direct result of the alleged

 misconduct.90 These changes – which were the result of the Defendants’ actions -- would have

 affected the receptiveness of prescribers and patients to promotional messages about the

 safety and effectiveness of opioids. Figure 5 shows key events identified by Plaintiffs that

 helped promote expanded opioid prescribing (in green), and subsequent public health and

 regulatory events (in red) that signaled the growing realization about the dangers of opioid

 use.91




 90
   “Defendants worked to create aggressive marketing strategies for opioids which served to distort needs, wants,
 and demand for opioids.” Perri Report, ¶ 119.
 91
   The arc of the opioid epidemic has been chronicled elsewhere. For example, L. Machikanti, et al., “Opioid
 Epidemic in the United States,” Pain Physician, Vol. 15, 2012, es9-38. M. Jones, et al., “A Brief History of the Opioid
 Epidemic and Strategies for Pain Medicine,” Pain Therapy, Vol. 7, 2018, pp. 13-21. A. Alam and D. Juurlink, “The
 prescription opioid epidemic: An overview of anesthesiologists,” Canadian Journal of Anesthesiology, Vol. 63, 2016,
 pp. 61-68. FDA, “Timeline of Selected FDA Activities and Significant Events Addressing Opioid Misuse and Abuse”
 (https://www.fda.gov/drugs/drugsafety/informationbydrugclass/ucm338566.htm). Expert Report of Theodore
 Parran, in this matter, March 25, 2019 (hereafter “Parran Report”), Sections IV.E-F and I-J. Expert Report of Mark
 Schumacher, in this matter, March 25, 2019 (hereafter “Schumacher Report”), Section III.B.3.
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                                                  FIGURE 5
                                           TIMELINE OF KEY EVENTS




         Analytic Approach

         To quantify the effect of promotion on total sales of opioids I use a standard

 econometric technique: multiple regression. Multiple regression techniques allow the analyst

 to separately quantify the influence of multiple economic variables on an outcome. Time-series

 regression, which is the particular technique I use in this case, examines patterns over time for

 a single unit of analysis (here, the United States retail pharmaceutical market) to capture a

 dynamic causal relationship. Because pharmaceutical sales in a particular period are related not




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 only to pharmaceutical promotion in that period, but also to promotion that occurred in prior

 periods, a dynamic model is well-suited to the question at hand.

          My primary dependent variable (the outcome to be explained) is the number of MMEs

 for all drugs at issue in this matter. This is the measure of impact that is conceptually connected

 to the harms that are quantified in the report by Prof. David Cutler. In Attachment D I show

 that a similar cause and effect relationship can be demonstrated for the number of extended

 units.

          The key explanatory variable in the model is the number of detailing contacts for

 opioids. Consistent with the theory of demand I also include a class-wide price index 92 for

 opioid drugs. Finally, in an expanded model, I include variables that capture some of the key

 events in the timeline described above.

          The basic regression model can be expressed in the following form:




 92
   Given the long time period with entry and exit of opioid products, I construct a Fisher Ideal Price Index. More
 information on the price index is provided in Attachment D.

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                 𝑄 = 𝛼+ 𝑆 𝛽+ 𝑋 𝛾+ 𝑒                                                                            (1)

 Where:

             𝑄       is the number of opioid MMEs sold at retail in month t

             𝑆       is a vector measuring the stock of detailing contacts for all opioids at month t

             𝑋       is a vector of factors other than detailing that change over time, including prices and

                     variables that capture events such as the issuance of new clinical guidelines for the

                     treatment of pain

             𝑒       is an error term

 α, 𝛽 and γ and are coefficients to be estimated


            Detailing contacts were entered into the model as a stock, including the number of

 current contacts and the depreciated value of past contacts, in line with the published

 literature and in accordance with the theory that effects of promotion on prescribing are

 dynamic.93 The stock of contacts in month t, 𝑆 , was computed as follows:

            𝑆 = 𝐶𝑜𝑛𝑡𝑎𝑐𝑡𝑠 + (1 − 𝛿) 𝑆                                                                           (2

            Where:

            𝐶𝑜𝑛𝑡𝑎𝑐𝑡𝑠 is the number of detailing contacts in month t, and

            𝑆     is the depreciated value of past contacts.

            The parameter 𝛿 is the depreciation rate, which I estimate in the model along with the other

            parameters.




 93
      See discussion in ¶ 33 above.

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            In specifying the model, I include the right-hand side variables in levels without

 transformation. As discussed in more detail below, I allow the impact of the stock of promotion

 to change over time based on specification tests. A full description of the model and related

 statistical output appears in Attachment D.

            The econometric analyses serve two purposes. First, they indicate that in economic

 terms there is a causal relationship between the Defendants’ promotion and prescriptions of

 opioids so that if the allegations of misconduct are proven true, impact can be found. Second, I

 use the models to simulate what the level of prescribing would have been if the Defendants

 had not engaged in the alleged misconduct, as measured by their detailing contacts. That is, I

 alter the underlying values of the promotional stock to replicate a “but-for” world and predict

 but-for quantities.


            Results

            Starting from the basic model described in Equation 1 above, I sequentially build models

 to account for the different ways the opioid prescribing unfolded into an epidemic over time.

 Consistent with facts summarized in this matter and the observations I made based on the

 figures above, I hypothesized that the impact of detailing would change over time as beliefs and

 norms about opioid treatment change. To account for these changes, I empirically identify

 changes, or “breaks” in econometric terms, in the relationship between detailing and sales over

 time. Ultimately, the data reveal there were three eras in the life of opioid detailing: (1) the

 period before wide acceptance of expanded use of opioids for pain, 94 (2) rapid growth after



 94
      See also Parran Report, ¶¶ 125-28.

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 alleged efforts to co-opt pain guidelines and other norm-setting activities, and (3) the period of

 cumulative impact of countervailing factors such as the introduction of mandatory prescription

 drug monitoring programs and new treatment guidelines. (For a more complete picture see the

 events marked in red in Figure 5).

            While the Defendants actively sought to manipulate the scientific and popular

 understanding of the risks of opioids prior to 1999, according to the plaintiffs’ marketing expert

 Perri,95 the release of the American Pain Society and American Association of Pain Medicine

 (APS, AAPM) consensus statement on pain (Spring 1997) 96 followed by the Federation of State

 Medical Board (FSMB) model guidelines (May 1998) 97 and the Joint Commission on

 Accreditation of Healthcare Organizations (JCAHO) pain management standards (2001) 98 were

 also important marketing tools.99 Through such advocacy as well as traditional marketing

 vehicles, Dr. Perri finds that Defendants sought to change the narrative about opioid therapy,

 opening the floodgates to prescribing.100




 95
      Perri Report, ¶¶ 72-74.
 96
   American Academy of Pain Medicine and the American Pain Society, “The use of opioids for the treatment of
 chronic pain – A consensus statement from the American Academy of Pain Medicine and the American Pain
 Society,” Journal of Pain, 6(1), 1997, pp. 77-79.
 97
   Federation of State Medical Boards, “Model policy for the use of controlled substances for the treatment of
 pain,” Journal of Pain and Palliative Care Pharmacotherapy, 19(2), 2005, pp. 73-78.
 98
      D. Phillips, “JCAHO pain management standards are unveiled,” JAMA, 284(4), 2000, pp. 428-29.
 99
   “Reshaping the minds of prescribers through CPG [Clinical Practice Guideline] development and associated
 distribution of these guidelines through educational (marketing) activities was an important aspect of Defendants
 marketing because of the impact it could have on sales.” 99 Perri Report, ¶ 80.
 100
    Specifically, Dr. Perri concludes: “Defendants’ messages (discussed in detail below) focused on translating drug
 features into drug benefits, and downplayed information that would serve to discourage prescribing, including
 potential harms.” Perri Report, ¶ 121). “In addition to downplaying addiction, Defendants’ marketing also attacked
 mainstream thinking about dependence, claiming that patients can easily be tapered off opioids, and that
 dependence is not a significant concern.” Perri Report, ¶ 137.

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         The accelerated growth in opioid prescribing that followed these guideline and

 messaging changes continued for approximately a decade before it was finally arrested and

 ultimately reversed by the cumulative effects of physician leadership, media attention, public

 health surveillance and regulation. During this period, as Dr. Perri notes, “While the

 pharmacology of opioids did not substantially change, the marketing of opioids did.” 101 (Perri,

 ¶114)

         Thus, in my preferred empirical specification, I model the effects of detailing on the

 number of MMEs sold at retail using a “piecewise” model, where the coefficient on the stock of

 detailing is estimated separately during each of the three eras. Not only does this approach

 correspond to observed changes in prescribing attitudes and guidelines for prescription opioids

 but also it tracks the patterns of the sales data presented in Figure 2. Models in which we

 assume the impact of promotion is constant over time do not fit the underlying data well. (I

 will return to this point below in comparing the fit of alternative regression models).

         Table 1 shows the coefficient estimates and p-values for three alternative regression

 models that capture the relationship between detailing and sales. All models include an

 estimated constant term and a depreciation rate for the stock of promotion (the parameter 𝛿).

 The effectiveness of detailing is reflected in the parameters 𝛽, 𝛽 , 𝛽 and 𝛽 .




 101
    See e.g., U.S. Department of Justice, “Statement of United States Attorney John Brownlee on the Guilty Plea of
 the Purdue Frederick Company and Its Executives for Illegally Misbranding OxyContin,” May 10, 2007
 (https://archive.org/stream/279028-purdue-guilty-plea/279028-purdue-guilty-plea_djvu.txt); U.S. Department of
 Justice, U.S. Department of Justice, “Pharmaceutical Company Cephalon to Pay $425 Million for Off-Label Drug
 Marketing,” September 29, 2008 (https://www.justice.gov/sites/default/files/civil/legacy/2014/01/09/Cephalon
 Press Release.pdf).
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                                                 Table 1
                  Regression Estimates: Impact of Detailing on Sales in MMEs, 1993-2018
                 Parameters                               Model A                    Model B               Model C
Param.                 Label                         Estimate           Sig.     Estimate    Sig.      Estimate    Sig.


         Constant                                   5,667,453,793      ***    2,447,050,075 ***     2,823,448,831 ***
𝛽         Stock of Promotion                                2,965       ***                .                     .
          Stock of Promotion*Regime                                 .
𝛽                                                                                       934    ***            878      ***
          Dummy until Mar2002
          Stock of Promotion*Dummy from                             .
𝛽                                                                                      1,111   ***           1,064     ***
          Mar2002
          Stock of Promotion*Dummy Trend                            .
𝛽                                                                                         -8   ***              -8     ***
          from Aug2010
𝛿         Depreciation Rate Constant                       0.0005                    -0.0067 ***           -0.0070 ***
          Consensus Statement From                                  .                      .
𝛾                                                                                                     -208,998,427
          AAPM/APS 01/1998
          Federation of State Medical Boards                        .                      .
𝛾                                                                                                      434,599,302      **
          Guidelines 01/1999
          JCAHO pain standards released                             .                      .
𝛾                                                                                                        4,733,839
          01/2001(*)
𝛾         OxyContin Reformulation 08/2010                           .                      .           107,939,744
          Hydrocodone Rescheduling                                  .                      .
𝛾                                                                                                      552,145,343     ***
          10/2014
𝛾         Aggregate Price Index                  -7,689,846,168         ***    -1,947,298,967 ***    -2,233,428,201 ***


RSquare                                                    0.8811                     0.9937                0.9939
AdjRSq                                                     0.8799                     0.9936                0.9937




             Model A assumes that the effectiveness of detailing is constant over the period 1993-

     2018; the regression coefficient measuring effectiveness (the parameter 𝛽) and is estimated to

     be 2,965 MME/month for a unit change in the stock of promotion. The estimated constant term

     is 5,667,453,793 MME and the monthly depreciation rate is not statistically different from zero.

     The price index, with a coefficient of −7,689,846,168, is statistically significant and in the

     expected direction (higher prices lead to lower MMEs). For Model A, the R-squared statistic

     (0.8811), which shows how well the estimated relationship fits the underlying data, is notably

     lower than for the other models, reflecting the fact that a constant relationship between the
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 stock of detailing and sales leaves much variation in sales unexplained. The predicted values for

 Model A are shown in Figure 1A in Attachment D. Model A does not capture well either the

 initial growth in opioid sales or the change that occurred in 2011. In short, estimating Model A

 teaches us that there is likely a changing, not constant, relationship between detailing and sales

 over this long (1993-2018) time period that should be explored to more accurately describe the

 relationship.

            Model B allows the effectiveness of promotion to change at two points in time,

 determined using specification tests. Thus, this model captures three different periods or eras

 of the opioid market: the initial era, an increase in MME sales during the second era, and a third

 era marking the gradual decline in MME sales. Specifically, we allow for an additive shift in

 promotional effectiveness that occurs in April 2002 (which enters as the interaction between

 the stock of detailing and a dummy variable that is zero before and 1 after April 2002) and then

 with a secular decrease in promotional effectiveness that begins in September 2010 (which

 enters as the interaction between the stock of detailing and a linear trend that is zero before

 September 2010 and increments by month).102 The predicted values for Model B are shown in

 Figure 1B in Attachment D.

            The effect of the stock of detailing promotion in Model B is estimated to be 934

 MME/month for a unit of promotion stock between 1993 and April 2002. At that point, the

 effectiveness of promotion increases to 1,111 MME/month, a nearly 20% increase in the

 effectiveness of promotion. Beginning in September 2010 the effectiveness of promotion sales



 102
       See Attachment D.

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 begins to drop by 8 MME per month. Model C results in an estimate for the constant term of

 2.4 billion MME. The depreciation rate of -0.0067 translates to an annual rate of -8.3%. A

 negative depreciation rate indicates that the stock of promotion grows over time. While this

 prediction may be at odds with the usual marketing literature, it is perfectly consistent with an

 addictive product like opioids.103 The coefficient on the price index is -1,947,298,967, which

 again is statistically significant. The predictive power of Model B is shown to be quite good with

 an R-square of 0.9937, thus explaining over 99% of the variation in MME sales.

         While shifts in the effectiveness of promotion in Model B implicitly accounts for non-

 detailing events and policies, I tested the robustness of Model B by examining whether

 indicators of specific events and policies should be explicitly included in my model. To test for

 the impact of specific events on the empirical model, I introduced dummy variables for several

 of the events shown in Figure 5 and discussed in ¶¶ 57 and 65. These dummy variables are set

 to zero up to the month in which the event occurs and one thereafter. The three-era model

 with five event dummies is shown as Model C in Table 1. Model C uses the same turning points

 as used in Model B (i.e., April 2002 and September 2010). Three of the five dummy variables are

 insignificant, the two other dummies are significant at the 5% level of significance. The first is

 the 1999 Federation of State Medical Boards Model Guidelines which suggests an increase of

 434,599,302 MME/month. The second event for which a significant effect was detected is the

 rescheduling of hydrocodone which counterintuitively suggests an increase of 552,145,343



 103
    “Additionally, because prescription opioids may result in tolerance, dependence, and/or addiction, the overall
 “demand” for opioids is distorted by pharmaceutical marketing aimed at increasing the use of these drugs. I refer
 to this as a distortion because, whether due to tolerance, dependence, or addiction, some patients who use
 opioids require and/or seek more opioids over time.” Perri Report, ¶ 32.

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 MME per month. Jointly, all five events are not statistically different from zero. It is also worth

 noting that the adjusted R-squared statistic (which adjusts for the number of additional

 variables included in the model) in Model C barely improves upon the adjusted R-squared in

 Model B and the main results concerning promotion and price are little changed. While I could

 add more events to the model, on its face this approach seems inconsistent with the underlying

 data, which rise and fall relatively smoothly (ignoring monthly fluctuations around the trend).

         Given these results and applying accepted principles of econometrics, I am of the

 opinion that Model B is a fair, accurate and econometrially sound method by which to estimate

 the relationship of the Defendants’ detailing of opioids on the sales of prescription opioids over

 the time period 1993 to 2018.


 Calculation of But-For MMEs

         I have been instructed by counsel to assume in my but-for scenarios that the fact finder

 (judge or jury) finds that all or virtually all promotion by the manufacturer Defendants from

 1995 to the present was unlawful. (I later show that the model I present can be adjusted to

 reflect other assumptions about the fact finder’s conclusions). Thus, to calculate impact for the

 purpose of damages beginning in 2006, I model a world in which this promotion did not occur

 (i.e, but-for promotion equals actual promotion for opioids less all promotion for opioids by the

 Defendants and their surrogates). To calculate the number of MMEs that would have been

 filled but-for the alleged wrongdoing, I replace actual detailing with but-for detailing and

 generate monthly predicted but-for MMEs. Attachment D provides details of the methods,

 assumptions and inputs for the but-for scenario. I then take the differences between predicted



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 actual MMEs and the predicted MMEs that would have been prescribed and purchased under

 the assumption of the but-for scenario. These results are presented in Table 2.

                                                TABLE 2
                DIRECT MODEL B: ANNUAL ESTIMATES OF IMPACT OF MANUFACTURER MISCONDUCT
                                              1995-2018

                                     YEAR              PERCENT OF MMES ATTRIBUTABLE
                                                         TO CHALLENGED PROMOTION
                                     1995                              5.5%
                                     1996                              12.9%
                                     1997                              18.2%
                                     1998                              22.8%
                                     1999                              27.6%
                                     2000                              33.4%
                                     2001                              38.8%
                                     2002                              43.4%
                                     2003                              47.0%
                                     2004                              49.5%
                                     2005                              50.8%
                                     2006                              50.7%
                                     2007                              52.3%
                                     2008                              52.9%
                                     2009                              53.5%
                                     2010                              54.1%
                                     2011                              54.8%
                                     2012                              55.7%
                                     2013                              57.3%
                                     2014                              59.6%
                                     2015                              61.0%
                                     2016                              61.6%
                                     2017                              62.1%
                                     2018                              63.8%
                                     TOTAL                             44.9%

 Sources: IQVIA NPA, IPS, ARCOS, CDC. 2018 based on data from January – May only
 But-For calculations described in Attachment D.
 Estimates are based on Model B in Table 1.
 The percent of MMEs attributable to challenged promotion is calculated as the difference between predicted actual and predicted
 but-for MMEs assuming all Defendants’ promotion is set to zero starting in 1995, divided by predicted actual MMEs.




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 assuming (a) a given percentage of Defendants’ promotion is assumed to be lawful, (b)

 promotion for a given specialty group is assumed to be lawful (e.g., oncologists), and (c)

 promotion for a given drug is assumed to be lawful.


 IX.     ECONOMETRIC ANALYSIS – INDIRECT APPROACH

         As noted earlier, the direct method of estimation is limited in part by the extent to

 which we can measure and include in the models all of the tactics allegedly employed by the

 Defendants, including manipulation of various professional societies and accrediting bodies. An

 alternative method of identifying the impact of the Defendants’ misconduct is to use an indirect

 method.

         The indirect method begins with a regression analysis of the relationship between

 opioid sales and the demographic, economic, and health care characteristics of an area, ideally

 during the period prior to the misconduct. Because these factors change very slowly and often

 move in concert over time, the indirect approach requires a different type of data and approach

 than the direct method. In particular, we employ data at the county level where there is

 substantial geographic variation in demographic, economic, and health care characteristics and

 run the regression for a single cross-section in the “pre-misconduct” period (in fact, the earliest

 data we have is 1997 our results are likely conservative). This regression is then used to predict

 sales that would have been expected given only changes in economic, demographic, and health

 care factors. Similar to the but-for calculations of sales using the direct method, predictions

 from the indirect method represent an estimate of opioid sales in the absence of Defendants’

 misconduct.


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         The regression equation used in the indirect approach here can be written simply as:

                                         𝑂𝑝𝑖𝑜𝑖𝑑 𝑆𝑎𝑙𝑒𝑠    = 𝑋      𝛽+ 𝜀

 The regression captures the relationship between sales at a point in time in county i and a set

 of economic, demographic, and health care characteristics of the county (𝑋 ). The coefficients

 in the regression (𝛽) capture the relationships between the explanatory variables and sales,

 while 𝜀 reflects the portion of the county-level sales that is not explained by the regression.

         Based on these estimates of the relationship between the economic, demographic and

 health care characteristics of counties and opioid sales before the opioid epidemic took hold,

 the model can be used to predict opioid sales using only changes in the Xi variables over time. A

 modified version of this approach incorporates an estimated secular trend, also using data from

 the pre-misconduct period. Incorporation of the secular trend into the model is conservative in

 that it assumes that none of the Xi variables contributed to that trend. In our context, adding

 the trend to the predictions is a way of capturing the market expanding effects of non-

 Defendant promotion.

         The indirect model is a form of “residual” analysis that is widely used to evaluate

 economic impact. Residual analysis is useful when the variable of interest cannot be measured

 with precision – in this case, that variable is the full set of tactics used by the Defendants to




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 increase opioid use. My approach follows an established methodology that has been widely

 used in health economics,104,105,106 macroeconomics,107,108 and labor economics.109


            Data and Methods

            The indirect model uses county-level ARCOS data on shipments (sales) of prescription

 opioids between 1997 (the first year for which data are available) and 2016 (the last year for

 which we have the ARCOS data). For the purposes of the analysis, the measure of sales in

 MMEs is expressed in per capita (per day) terms to account for the variation in population

 across counties.110 There are some small differences between the ARCOS data and the IQVIA

 data used in my direct analysis. With the IQVIA data, precise delineations can be made

 between Schedule II and Schedule III opioids, which allow me to exclude drugs that are always

 Schedule III from the analysis. With the ARCOS data, this refinement is not possible. This

 problem is de minimus, however, affecting less than 2.5 percent of the drug shipments in

 ARCOS.




 104
    D. Cutler, et al., “Are Medical Prices Declining? Evidence from Heart Attack Treatments,” Quarterly Journal of
 Economics, 113(4), 1998, pp. 991-1024.
 105 D. Cutler and E. Meara, “The Technology of Birth: Is It Worth It?” in Alan Garber, ed.,   Frontiers in Health Policy
 Research, Volume 3, Cambridge, MA: MIT Press, 2000, pp. 33-67.
 106
    J. Newhouse, “Medical Care Costs: How Much Welfare Loss?” Journal of Economic Perspectives, 6, 1992, pp. 13-
 29.
 107 R. Solow, “Technical Change   and the Aggregate Production Function,” Review of Economics and Statistics, 39,
 1957, pp. 312-20.
 108
    A.C. MacKinlay, “Event Studies in Economics and Finance,” Journal of Economic Literature, XXXV, 1997, pp. 13-
 39.
 109
   S. Firpo, T. Lemieux, and N. Fortin, “Decomposition Methods in Economics”, in D. Card and O. Ashenfelter, eds.,
 Handbook of Labor Economics, 4th Edition, North Holland: Elsevier, 2011, pp. 1-102.
 110
       See Attachment D.

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            I include three sets of explanatory variables in the indirect model. Demographic

 variables in the model include the percent of the population that is male, the percent in

 different age groups (<15, 15-29, 30-44, 45-64, 65+), the percent of the population that is

 white, the percent that is black, the percent that is Hispanic, the share of the population in four

 different education groups (less than a high school degree, a high school degree, some college,

 and a college degree), and the percent of the county identified as urban. 111 Economic variables

 are also included to capture the idea that the same economic conditions that have been shown

 to be causally related to opioid deaths may also increase the demand for opioids. In particular, I

 include the unemployment rate and employment-to-population ratio; the distribution of

 employment by major industry sector; median household income ($000); the poverty rate; and

 the county’s population.112 Finally, I include two variables to capture the specific health care

 factors that may reflect demand for opioids: the percentage of the population without

 insurance coverage; and the number of cancer deaths.113

            I use a log-linear specification for ease of interpretation. In particular, the coefficients on

 the socioeconomic indicators (those expressed as rates) can be read as increasing or reducing

 sales by a certain percentage. The model is estimated using ordinary least squares.




 111
       The variables used in the regression analysis, including means, are reported in Attachment D.
 112
    The explanatory variables in the indirect model parallel those used in research literature in this field. A. Case
 and A. Deaton, “Rising morbidity and mortality in midlife among white non-Hispanic Americans in the 21st
 century,” Proceedings of the National Academy of Sciences, 112(49), 2015, pp. 15078-83. A. Case and A. Deaton,
 “Mortality and morbidity in the 21st century,” Brookings Papers on Economic Activity, 2017, pp. 397-476. C. Ruhm,
 “Deaths of despair or drug problems?” National Bureau of Economic Research Working Paper No. w24188, 2018.
 113
       Data sources are described in Attachment D.

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         Results

         Table 4 reports the results for the indirect regression. The overall model fits well (note

 that R-squared statistics for cross-sectional models are lower than time series models), with an

 adjusted R-squared statistic of 0.33. Counties with younger populations, lower household

 incomes, higher percentages of people having some college education, lower percentages of

 Black and Hispanic people, more urban populations, and more cancer deaths have higher sales.




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                                                     TABLE 4
                                            OLS REGRESSION RESULTS
                                              INDIRECT METHOD

                                                                                  No. obs =                   404
                                                                                   R-sq =                     0.33

                 Variable                        Mean        Coef.     Std. Err       t             P>|t|
  Log of Shipments per Capita                      -.81
  Percent Male                                      .49        1.06       2.19          .48                    .63
  Percent Under 15                                  .21        3.45       1.19         2.91                    .00
  Percent 15 to 29                                  .21        3.46       1.13         3.06                    .00
  Percent 30 to 44                                  .24        3.10       1.28         2.43                    .02
  Percent 45 to 64                                  .21        4.85       1.47         3.30                    .00
  Percent White                                     .84        -.44        .34        -1.29                    .20
  Percent Black                                     .12        -.97        .35        -2.79                    .01
  Percent Hispanic                                  .08        -.70        .27        -2.56                    .01
  Percent Less High School                          .16         .33        .65          .51                    .61
  Percent High School                               .39        -.59        .46        -1.29                    .20
  Percent Some College                              .20        1.75        .70         2.49                    .01
  Employment Ratio                                  .63         .67        .36         1.84                    .07
  Percent Unemployed                                .05         .05       1.35          .03                    .97
  Median Household Income
                                                   55.48        -.01       .00        -2.51                    .01
  (Thousands)
  Percent Ag/M/Const/Util                            .07         .74       .59         1.27                    .21
  Percent Manufacturing                              .22        -.52       .26        -1.99                    .05
  Percent Retail/Transportation                      .24        -.67       .44        -1.53                    .13
  Percent Professional                               .20         .52       .36         1.42                    .16
  Poverty Rate                                       .11        -.07      1.07         -.07                    .94
  Percent Urban                                      .83         .34       .14         2.48                    .01
  Census Population (Thousands)                   466.16         .00       .00         -.76                    .45
  Cancer Deaths Per 1,000                           2.50         .35       .07         4.70                    .00
  Percent Uninsured                                13.38         .00       .00          .55                    .58
  Constant                                           n.a.      -5.23      1.54        -3.39                    .00
  Standard errors are estimated robustly.
 Notes: Primary data source is ARCOS Large County sales data. All sources and detailed methods included in
 Attachment D.


         The results of the regression model, together with data on explanatory variables for

 1998-2016 are used to predict MMEs for the post-1997 period that would have been observed

 in the absence of Defendants’ alleged misconduct. To the account for secular trends that are

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 not captured by demographic, economic and health care variables in the model I also add to

 the predicted MMEs an annual increase based on an estimated linear trend using historical data

 that pre-date the alleged misconduct. For this trend estimate, I rely on data from the

 International Narcotics Control Board, which are available nationally back to 1980. 114 I chose a

 fifteen year trend (1980-1995) to minimize the influence of any year-to-year variations in

 annual sales and to capture underlying changes in clinical practice and other unmeasured

 influences.115 Given that some part of this secular trend derived from national sales data is

 likely driven by the same variables I include in my analysis, inclusion of this additional trend

 renders my analysis conservative.

          I also adjust for the impact of aggregate prices for opioids. There is little county-level

 variation in opioid prices so this variable does not appear in the cross-sectional model, despite

 the fact that my direct model shows a small but significant (negative) effect of price on sales

 over time. To account for these price increases I adjusted the but-for MMEs as follows. The

 estimated coefficient on the drug price index from the direct-model regression was adjusted to

 reflect the average difference in annual MMEs between the IQVIA and ARCOS data. This

 adjusted coefficient was multiplied by the increase in the price index for each year and the

 product was added to but-for annual MMEs estimated from the county-specific demographic,

 economic and health-policy variables. As the predicted effect of rising prices on but-for MMEs




 114
    International Narcotics Control Board (INCB), United Nations (UN). Data are available for the U.S. as whole and
 are comparable for national estimates of MME per capita from ARCOS.
 115
    Inclusion of any trend here is conservative. My specific choice of trend is conservative relative to Dr. Parran’s
 opinion that "Therefore, the baseline for opioid prescribing in American medical practice should be considered to
 be in the late 1970s through the late 1980s, rather than any time afterwards.” Parran Report, ¶ 128.

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 is negative, this adjustment reduces the but-for value and increases the estimated excess

 MMEs. But the relatively low elasticity of demand means the adjustment is small, reducing the

 excess share of total MMEs from the indirect model by an average of 0.5 percentage points per

 year.

         Actual opioid sales increased sharply after 1995 but projections from the indirect

 regression model indicate that opioid sales would have grown much more slowly in the absence

 of Defendants’ actions. Table 5 below reports the annual estimates of percentage impact for

 manufacturer misconduct based on the indirect method (analogous to Table 2 for the direct

 method).




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                                                     TABLE 5
                                   INDIRECT METHOD: EXCESS SHIPMENTS IN MMES

                                                           Adjusted for Aggregate Opioid Prices

                  Year       Total MME (MM)            Excess MME Adj (MM)            Excess Share Adj
                  1995              17,710                       -1,472                         .
                  1996              20,635                        170                        0.8%
                  1997              24,453                       3,710                      15.2%
                  1998              29,531                       6,482                      21.9%
                  1999              35,184                      10,616                      30.2%
                  2000              45,632                      19,865                      43.5%
                  2001              54,996                      28,173                      51.2%
                  2002              64,797                      36,824                      56.8%
                  2003              78,588                      49,678                      63.2%
                  2004              87,184                      57,380                      65.8%
                  2005              91,151                      59,980                      65.8%
                  2006             105,632                      72,892                      69.0%
                  2007             122,327                      88,579                      72.4%
                  2008             128,995                      94,266                      73.1%
                  2009             139,151                      103,649                     74.5%
                  2010             153,408                      116,340                     75.8%
                  2011             154,723                      116,653                     75.4%
                  2012             150,084                      111,351                     74.2%
                  2013             141,785                      102,736                     72.5%
                  2014             138,524                      99,272                      71.7%
                  2015             133,772                      94,256                      70.5%
                  2016             124,364                      84,077                      67.6%
                  Total           2,042,625                   1,355,479                     67.0%
               Sources: U.S. Census data; INCB; and ARCOs. Details of this calculation are presented in
               Attachment D.




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 X.       DOES A THEORY OF “UNDER-TREATED PAIN” EXPLAIN THE GROWTH IN OPIATE PRESCRIBING?

          As an alternative to the Defendants’ marketing as being the explanation for much of the

 rise of opioid prescribing in the United States, I understand that some have argued an

 alternative explanation – that pain was previously “under-treated,” and that the growth in

 opioid shipments is due to either to the amount of pain in the Unitied States increasing over

 time or, more likely, to the amount of the opioids used to properly treat pain increasing over

 this time period. For example (and while the plaintiffs allege that the Defendants improperly

 manipulated this movement) some groups encouraged increased use of opioids for treatment

 for pain management, referring to pain as “the fifth vital sign.” 116

          To test this hypothesis, I note there is empirical research on the prevalence of

 uncontrolled pain among cancer patients and other patient groups that could help us

 understand how much of the growth in opioid shipments could, as a theorectical matter, even

 possibly be attributed to using more opioids to treat pain consistent with medical evidence. 117

 In this section, I use epidemiologic data and a simple simulation approach to approximate the

 portion of the increased prescribing caused by the allegedly unlawful promotion could possibly

 be associated with using opioids to address ostensibly “under-treated” pain. 118



 116
   M. Max, et al., “Quality improvement guidelines for the treatment of acute pain and cancer pain,” JAMA,
 274(23), 1995, pp. 1874-80.
 117
    R. Portenoy and Thaler, et al. “Pain in ambulatory patients with lung or colon cancer,” Cancer, 70(6), pp. 1616-
 24. C. Cleeland, et al., “Pain and Its Treatment in Outpatients with Metastatic Cancer,” New England Journal of
 Medicine, 330(9), 1994, pp. 592-96. J. M. Donovan, et al., “Incidence and characteristics of pain in a sample of
 medical-surgical inpatients,” Pain, 30(1), 1987, pp. 69-78. R. Marks and E. Sachar, “Undertreatment of Medical
 Inpatients with Narcotic Analgesics,” Annals of Internal Medicine, 78(2), 1973, p. 173-81. K. Sriwatanakul, “Analysis
 of Narcotic Analgesic Usage in the Treatment of Postoperative Pain,” JAMA, 250(7), 1983, 926-29.
 118
    I would note that Dr. Parran rules out clinical need as a reason for the increase in opioid prescribing, stating in
 his report that “There was no clinical reason for this avalanche of pills” (¶ 135).

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            Specifically, I conduct a thought experiment that allows me to calculate an “upper

 bound” of how much of the growth in MMEs could be attributable to more intensive pain

 management for patient groups that according to plaintiffs’ experts could have benefitted from

 treatment with opioids. All of the underlying assumptions in this section have been developed

 in reference to the opinions of the plaintiffs’ clinical experts, including Dr. Schumacher and Dr.

 Parran.119 As a general matter and for purposes of this empirical test, I assume: (i) that, at

 most, opioids are properly indicated for the short-term treatment of severe acute pain (e.g.

 trauma or post-surgical pain); end-of-life pain/hospice care; and cancer pain from active

 malignant disease; (ii) that chronic opioid therapy is not recommended for most common

 chronic pain conditions (defined as moderate to severe pain lasting beyond 60 to 90 days),

 including low back pain, centralized pain such as fibromyalgia, and headache pain; and (iii) that

 in less common chronic pain conditions (such as pain from advanced multiple sclerosis, sickle

 cell disease, pain following spinal cord injury and paraplegia, or post-herpetic neuralgia), which

 comprise a small percentage of chronic pain patients, opioids may be considered a third-line

 therapy (taken if other therapies are ineffective or contraindicated) for moderate and severe

 pain.

            Plaintiffs’ experts point to the literature and clinical guidelines as benchmarks for

 appropriate opioid treatment.120 While the experts acknowledge that there will be variation in

 dosing and duration in real world practice, I understand that the guideline-centered

 assumptions I make in my thought experiment represent a reasonable expectation of the modal


 119
       See the Parran Report, ¶ 45-47 ,110, 145, and 190, and Schumacher Report, ¶¶ 119-26 and 132-35.
 120
       See for example, Parran Report, Section IV.B-IV.E.

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 treatment – many patients would appropriately be treatment with lower doses and durations,

 while some would require more. Given the narrow categories of indicated chronic pain use, its

 role as third-line therapy, and the significant risks associated with its use, optimal chronic

 opioid therapy is difficult to characterize even in this approximate way with a single regimen.

 For these reasons, I do not attempt to capture optimal treatment for patients with chronic pain

 in my simulation.

         My simulation of a theoretical maximum, scientifically-accepted use of opioids begins

 with incidence data on the populations of interest and applies baseline and “upper bound”

 values for key parameters that factor into the number of MMEs that would hypothetically be

 consumed by these patient groups. The parameters needed to calculate potential scientifically-

 accepted uses are: (1) the number of patients treated, (2) the daily dose in MMEs, and (3) the

 duration of treatment in days. Total MMEs consumed for appropriate treatment would simply

 be the product of these parameters. Through this approach, I estimate the number of MMEs

 that could have been accounted for by theoretical maximum, scientifically-accepted use of

 opioids. I also conduct a simple sensitivity test that considers how large the quantum of

 appropriate uses could be if any one of my parameters is underestimated. Note that because I

 am not documenting the diagnoses and dosing associated with actual uses of opioids, I am not

 able to calculate how much of the increased use of opioids during the period in which the

 alleged misconduct occurred was in fact for clinically appropriate indications, dosages, and

 durations. Instead I make medical evidence-based calculations to examine the possibility that

 the rapid growth of opioid use could be explained by efforts to appropriately address an

 ostensibly unmet clinical need (i.e., so-called “under-treated” pain).

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            Cancer Patients at the End of Life

            The first group of patients with potentially undertreated pain includes cancer patients at

 the end of life/in hospice. I use epidemiologic data on cancer deaths in each year to identify the

 size of this population. 121 Studies published in the 1980s and 1990s found that 50-70% of

 cancer patients reported uncontrolled pain122 suggesting that perhaps there was room for

 increased treatment with opioids.

            For my simulation I take a conservative approach and assume that 100% of cancer

 patients at the end of life need (and want) a high dose of extended release oral opioids. This

 assumption is extremely conservative in light of plaintiffs’ clinical expert Dr. Parran’s opinion

 that “Even in the context of acute, cancer or end-of-life pain, opioids are not a first option if the

 pain is mild and can be controlled with non-opioid analgesics.” 123 For dosing, my baseline

 assumption is 80 MMEs per day, which is consistent with average dosing in cancer patients

 reported in published studies.124 For the duration of treatment for cancer patients at the end of

 life, I use the average duration of treatment reported for cancer palliative care as my baseline:

 roughly 64 days, which is just below the average number of days patients spend in hospice


 121
     I understand that clinical experts opine that certain other cancer patients (those with breakthrough cancer
 pain, not at the end of life) and patients dying from other conditions may be appropriately treated with opioids. I
 do not separately attempt to identify these patients for lack of complete data and because I understand the there
 is more clinical nuance to the use of opioids for these patients (see, for example Parran Report ¶141). Such need
 will likely, however, be captured in the range of my sensitivity analysis (where I model the results of a 50% increase
 in any of my parameters, including the target population).
 122
    Portenoy, et al., op. cit. Cleeland, et al., op. cit. J. Morris, et al., “The effect of treatment setting and patient
 characteristics on pain in terminal cancer patients: A report from the National Hospice Study,” Journal of Chronic
 Diseases, 39(1), 1986, pp. 27-35. H. Greenwald, J. Bonica, and M. Bergner, “The prevalence of pain in four
 cancers,” Cancer, 60(10), 1987, pp. 2563-69.
 123
       Parran Report, ¶ 145 and Schumacher Report, ¶ 133.
 124
    A. Haider, et al., “Opioid Prescription Trends Among Patients with Cancer Referred to Outpatient Palliative Care
 Over a 6-Year Period,” Journal of Oncology Practice, 13(12), 2017, pp. e972-e981.

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 (about 70).125 Finally, I calculate the MMEs that would be required to treat end-of-life cancer

 patients by multiplying the number of cancer deaths in each year by the daily dose in MMEs

 and duration of treatment in days.


         Patients with Acute Pain

         The second group of patients with potentially “under-treated” pain is the population

 that suffers from acute pain. According to WebMD, “Acute pain typically comes on suddenly

 and has a limited duration. It's frequently caused by damage to tissue such as bone, muscle, or

 organs, and the onset is often accompanied by anxiety or emotional distress.” I estimate the

 incidence of acute pain by capturing two key groups of patients that experience pain due to a

 time-limited medical event (as opposed to a chronic condition): patients who are treated for

 trauma and patients who undergo surgery.

 Trauma Patients

         I measure the incidence of trauma using statistics on emergency department visits

 where the reason for the visit was trauma. According to research published in 1999 only 15% of

 individuals who were seen in an emergency department for pain received an opioid, despite

 rating their pain as severe.126 Thus, as with cancer, there may have been reason to increase the

 use of opioids to better manage pain for trauma and other acute pain in the emergency


 125
     C. Carlson, “Effectiveness of the World Health Organization Cancer Pain Relief Guidelines: An Integrative
 Review,” Journal of Pain Research, 9, 2016, pp. 515-34, p. 521. M. Wachterman, et al., “Association of Hospice
 Agency Profit Status With Patient Diagnosis, Location of Care, and Length of Stay,” JAMA, 305(5), 2011, pp, 472-
 79. Average time spent in hospice comes from this article: American Medical News, “Average Hospice Length of
 Stay is Falling,” February 2, 2012 (https://amednews.com/article/20120201/profession/302019996/8/), reporting
 research from the National Hospice and Palliative Care Organization.
 126
    P. Tanabe and M. Buschmann, “A prospective study of ED pain management practices and the patient’s
 perspective,” Journal of Emergency Nursing, 25(3), 1999, pp. 171-77.

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 department. As I did for terminal cancer patients, I conduct a thought experiment in which I

 quantify the MMEs of opioids required to treat 100% of patients who experience trauma.

 Published guidelines, which Plaintiffs’ clinical experts regard as an appropriate benchmark,

 recommend a daily regimen of 30 milligrams of an immediate release opiate such as

 hydrocodone127 to control post-trauma pain for three to seven days.128 Hydrocodone has an

 MME conversion factor of one, meaning that 30 milligrams delivers 30 MMEs. I use the seven

 day regimen129 in my simulation and calculate the number of MMEs that would be required to

 treat acute trauma patients with opioid therapy as the product of the number of trauma

 patients multiplied by 210 (30 MMEs times 7 days).

 Surgical Patients

             Finally, I consider the treatment of patients who underwent surgery on either an

 inpatient or outpatient basis. According to studies published around the time the alleged

 misconduct began, 41% of post-surgical inpatients experienced moderate to severe pain. 130

 Again, I assume conservatively in my thought experiment that 100% of patients receiving

 inpatient or outpatient surgical procedures would receive an opioid prescription. As in the case


 127
   American Academy of Emergency Medicine, “White Paper on Acute Pain Management in the Emergency
 Department,” approved October 24, 2017 (https://www.aaem.org/resources/statements/position/white-paper-
 on-acute-pain-management-in-the-emergency-department).
 128
    From CDC guidelines for opioid prescribing, “When opioids are used for acute pain, clinicians should prescribe
 the lowest effective dose of immediate-release opioids and should prescribe no greater quantity than needed for
 the expected duration of pain severe enough to require opioids. Three days or less will often be sufficient; more
 than seven days will rarely be needed.” D. Dowell, T. Haegerich, and R. Chou. “CDC Guideline for Prescribing
 Opioids for Chronic Pain - United States, 2016,” Morbidity and Mortality Weekly Report, 65(No. RR-1), 2016, p. 24
 (hereafter “2016 CDC Guidelines”).
 129
    Note that this assumption is conservative relative to Dr. Parran’s assessment: “For acute pain conditions,
 including post-surgery, opioid therapy should be used for only a very short period of time, not to exceed one or
 two weeks; in many instances of acute pain, two to five days of opioids is sufficient.” Parran Report, ¶ 47.
 130
       Marks and Sachar, op. cit. Sriwatanakul, op. cit.

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 of trauma patients, published guidelines advise a daily regimen of 30 mg of an immediate

 release opioid such as hydrocodone131 to control post-surgical pain for three to seven days. 132 I

 use the seven day regimen in my simulation and calculate the number of MMEs that would be

 required to treat acute trauma patients with opioid therapy as the product of the number of

 surgical patients multiplied by 210 (30 MMEs times 7 days).133


            Results for Cancer and Acute Pain

            Table 6 presents the results of the calculations I describe above for each patient group

 and in total, alongside actual MMEs sold. Figure 6 shows actual MME sales plotted alongside

 total hypothetical MMEs using the baseline assumptions for patients in the three groups to

 receive opioid therapy starting in 1995. The data show that changes in appropriate treatment

 for these groups of patients cannot explain the growth of opioid use during the period of

 alleged misconduct. The observed percentage increase in MME opioid sales between 1995 and

 2011 (the peak of opioid MMEs) is 1,097%.134 The total uses that could be explained by cancer,

 surgery, and trauma based on clinically reasonable treatment regimens is less than 6% of total

 MMEs at the peak level of opioid prescribing in 2011. The empirical explanation for these



 131
   MD Anderson Cancer Center, University of Texas,“Post-Operative Pain Management,” approved October 30,
 2018 (https://www.mdanderson.org/documents/for-physicians/algorithms/clinical-management/clin-
 management-post-op-pain-web-algorithm.pdf).
 132
       2016 CDC Guideline, op. cit. Schumacher Report, ¶ 120.
 133
    Once again, my assumption that all surgical patients might be appropriately given opioids goes beyon what
 plaintiffs’ clinical experts have opined. Notably, Dr. Schumacher suggests limiting opioids for surgery patients. “It is
 better to avoid opioids if there are effective alternatives. Use the lowest possible dose for the least amount of
 time during recovery …. It is important to limit prescribing to what is actually needed, to avoid inappropriate
 usage, or more drug in people’s medicine cabinets. After most routine surgery 3-7 days is often enough.”
 Schumacher Report, ¶ 119.
 134
   (Total MMEs Prescribed in 2011 – Total MMEs Prescribed in 1995) / Total MMEs Prescribed in 1995) x 100. See
 Table 6.

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 findings is straightforward. First, the prevalence of these conditions is falling not rising over this

 time period, with an estimated 5% decrease between 1995 and 2011.135 Second, even

 assuming that all of these cancer, surgery, and trauma patients were newly treated with the

 recommended dose and duration, the quantum of need is far exceeded by the flood of oral

 opioids that were sold by 2011.

         The table also shows the sensitivity of my conclusions to proportional increases in any of

 the inputs. If any input were increased by 50% (or smaller increases in several inputs that

 yielded an overall increase of 50% in terms of the need for MMEs), appropriate use would still

 only account for only 16.1% of total opioid sales in MMEs over the period 1995 to 2018.




 135
    Based on information from the Agency for Healthcare Research and Quality (AHRQ) Healthcare Cost and
 Utilization Project (HCUP), Centers for Disease Control and Prevention (CDC) Surveillance, Epidemiology, and End
 Results (SEER), Health Resources and Services Administration (HRSA) Area Health Resource File (AHRF). See
 Attachments C and D.

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                                                        TABLE 6
                               MAXIMUM PERCENT OF MMES EXPLAINED BY CLINICALLY JUSTIFIABLE USES


                                            National Estimates, 1993-2018                                                             Percent in Excess of
                                                                                                                                      Maximum Clinically
 Year          Cancer              Trauma              Surgery                Total            Total + 50%      Actual MMEs Sold    Justifiable Opioid Uses
 1995       2,861,525,677       4,625,186,038       6,409,923,310        13,896,635,025      20,844,952,537       18,772,080,876            25.97%
 1996       2,855,148,549       4,617,967,501       6,382,363,792        13,855,479,842      20,783,219,763       21,873,462,479            36.66%
 1997       2,841,460,557       4,610,748,965       6,354,804,274        13,807,013,795      20,710,520,693       25,920,208,524            46.73%
 1998       2,836,327,442       4,603,530,428       6,327,244,756        13,767,102,626      20,650,653,940       32,696,110,786            57.89%
 1999       2,867,658,186       4,596,311,892       6,299,685,238        13,763,655,315      20,645,482,973       43,216,719,992            68.15%
 2000       2,871,862,451       4,589,093,355       6,272,125,720        13,733,081,526      20,599,622,289       57,661,469,498            76.18%
 2001       2,863,952,129       4,581,874,819       6,244,566,202        13,690,393,149      20,535,589,724       63,769,859,807            78.53%
 2002       2,862,225,094       4,574,656,282       6,217,006,684        13,653,888,060      20,480,832,090       84,394,141,166            83.82%
 2003       2,835,389,288       4,567,437,746       6,189,447,166        13,592,274,199      20,388,411,299       99,538,252,112            86.34%
 2004       2,801,036,403       4,560,219,209       6,161,887,648        13,523,143,260      20,284,714,890      113,467,432,097            88.08%
 2005       2,802,613,239       4,553,000,673       6,070,634,430        13,426,248,341      20,139,372,512      126,316,338,351            89.37%
 2006       2,780,881,572       4,527,506,760       6,066,004,644        13,374,392,976      20,061,589,464      142,567,094,664            90.62%
 2007       2,764,733,691       4,509,337,560       6,061,374,858        13,335,446,109      20,003,169,164      159,468,968,951            91.64%
 2008       2,745,234,129       4,553,328,570       6,056,745,072        13,355,307,771      20,032,961,656      178,153,878,388            92.50%
 2009       2,723,541,919       4,502,250,900       6,052,115,286        13,277,908,105      19,916,862,157      190,797,575,017            93.04%
 2010       2,720,139,135       4,598,301,120       6,047,485,500        13,365,925,755      20,048,888,632      211,124,683,303            93.67%
 2011       2,692,447,190       4,499,305,860       5,996,996,250        13,188,749,300      19,783,123,950      224,787,125,832            94.13%
 2012       2,674,157,851       4,553,358,810       5,946,507,000        13,174,023,661      19,761,035,491      215,174,297,180            93.88%
 2013       2,642,242,973       4,427,317,230       5,896,017,750        12,965,577,953      19,448,366,929      204,476,610,735            93.66%
 2014       2,631,363,034       4,481,465,100       5,845,528,500        12,958,356,634      19,437,534,950      198,407,257,313            93.47%
 2015       2,608,260,888       4,480,815,308       5,858,732,950        12,947,809,145      19,421,713,718      187,924,913,913            93.11%
 2016       2,594,425,251       4,473,596,771       5,831,173,432        12,899,195,454      19,348,793,181      176,998,684,608            92.71%
 2017       2,575,445,358       4,466,378,235       5,803,613,914        12,845,437,506      19,268,156,259      154,743,694,586            91.70%
 2018       2,556,465,464       4,459,159,698       5,776,054,396        12,791,679,558      19,187,519,338       55,937,815,582            77.13%
 Total     66,008,537,468      109,012,148,826     146,168,038,772      321,188,725,066      481,783,087,599    2,988,188,675,761           89.25%

Source: Epidemiological Data: AHRQ HCUP, CDC SEER, HRSA AHRF
        Sales Data: IQVIA NPA, ARCOS, CDC

Notes:   Total = sum of MMEs needed to appropriately treat 100% of cancer, trauma, and surgery given clinical parameters (Cancer: 80 MMEs/day over 64 days;
         Surgery and Trauma: 30 MMEs/day over 7 days). Actual MMEs nationally from IQVIA NPA, ARCOS, CDC. Percent in Excess of Maximum Clinical
         Justifiable Opioid Use = (Actual MMEs Sold - Total Appropriate MMEs)/Actual MMEs Sold. Years for which epidemiological data was not available,
         linear estimation was used.




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                                              FIGURE 6
                            MAXIMUM CLINICALLY JUSTIFIABLE OPIOID USES FOR
                       CANCER, TRAUMA AND SURGERY AND TOTAL MME SALES BY YEAR
                                            (1993-2018)




         The analysis described above can be applied at the county level. Table 7 shows

 comparable results for the Bellwether counties. Figure 7 likewise depicts the MMEs potentially

 clinically justified based on the same criteria as in the national analysis. Results in Table 4 and

 Figure 6 are provided for the years at issue in this case, 2006-2018.




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                                                                      TABLE 7
                                   SHARE OF SHIPMENTS OF PRESCRIPTION OPIOIDS (MME) JUSTIFIED BY CLINICAL CRITERIA
                                                                                                                2006 2017
                                     2006          2007           2008          2009          2010          2011          2012          2013          2014          2015          2016          2017
      Cuyahoga
[1]   Appropriate MMEs           89,327,965     89,569,999    89,696,469     88,793,006    90,143,883    90,392,098    91,998,751    91,702,841    92,977,471    92,778,071    93,231,408    93,684,744
[2]   Appropriate MMEs + 50%     133,991,948    134,354,999   134,544,703    133,189,508   135,215,824   135,588,148   137,998,126   137,554,261   139,466,207   139,167,106   139,847,111   140,527,117
[3]   Actual MMEs                478,889,956    530,550,380   571,719,288    637,818,130   668,327,826   688,832,370   642,493,994   589,331,434   565,840,934   525,203,079   476,293,822   404,555,115
[4]   Percent Appropriate          18.65%         16.88%        15.69%         13.92%        13.49%        13.12%        14.32%        15.56%        16.43%        17.67%        19.57%        23.16%

      Summit
[1]   Appropriate MMEs           27,104,446     27,266,944    26,829,809     26,794,708    26,583,259    26,386,251    26,009,090    25,700,548    26,345,884    25,742,605    25,579,549    25,416,494
[2]   Appropriate MMEs + 50%     40,656,669     40,900,415    40,244,714     40,192,062    39,874,888    39,579,377    39,013,634    38,550,822    39,518,826    38,613,907    38,369,324    38,124,740
[3]   Actual MMEs                306,708,256    335,808,650   336,517,632    360,744,761   396,939,613   404,015,680   372,640,167   348,578,439   321,102,481   296,128,071   255,199,028   208,094,388
[4]   Percent Appropriate          8.84%          8.12%         7.97%          7.43%         6.70%         6.53%         6.98%         7.37%         8.20%         8.69%         10.02%        12.21%

Source: Epidemiological Data: AHRQ HCUP, CDC SEER, HRSA AHRF

Notes:
 1 Appropriate MMEs = sum of MMEs needed to treat 100% of cancer, trauma and surgery cases given clinical parameters (Cancer: 80 MMEs/day over 64 days; Surgery and Trauma: 30 MMEs/day over 7 days)
 2 Actual MMEs * 1.5.
 3 Actual MMEs by County Provided by Compass Lexecon.
 4 Percent Appropriate = Appropriate MMEs/Actual MMEs. [4] = [1]/[3].

      Years for which epedemiological data was not avaialbe, linear estimation was used.




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                                              FIGURE 7
                            MAXIMUM CLINICALLY JUSTIFIABLE OPIOID USES FOR
                       CANCER, TRAUMA AND SURGERY AND TOTAL MME SALES BY YEAR
                                  FOR CUYAHOGA AND SUMMIT COUNTIES
                                            (2006-2018)




 XI.     SUMMARY AND CONCLUSIONS

         In this Report, I have offered an economic framework that describes the incentives for

 pharmaceutical promotion and reviewed the literature demonstrating the impact of such

 promotion on sales. I also observe that the conclusions drawn from economic theory and

 empirical evidence are corroborated by deposition testimony and strategic documents

 obtained from Defendants. Using two alternative methods found in the published literature and

 comprehensive data on actual sales and promotion of opioids, I have quantified the impact of

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 the alleged misconduct in this matter. These two approaches, which use different types of

 variation (time-series and cross-sectional) and data to identify the impact of Defendants’

 promotion, yield a range of impact estimates. The nesting of these results as predicted bolsters

 the reliability of each. In my opinion, given the limitations of data and the circumstances of

 opioid use and marketing over time, the results of the direct approach yield a lower bound of

 the causal relationship between the Defendant manufacturers’ promotion on sales. Given that

 I also show that the growth of opioids cannot be explained by clinical need, the results of the

 indirect approach more closely reflect the relationship between the challenged conduct and

 opioid sales. Altogether, I find that promotion caused a large share of the sales of opioids

 nationally and in the Bellwether jurisdictions during the damage period. My estimates of the

 annual percentages of MMEs in the Bellwether jurisdictions for each year are adopted in Prof.

 Cutler’s Report as an input to the calculation of harms caused by the alleged misconduct.




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                                                 Attachment A




 Expert Report of Professor Meredith Rosenthal                        Attachment A
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                                   CURRICULUM VITAE

                                                                     Date: March, 2019

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 EDUCATION:
 1998           Health Policy (Economics track), Ph.D., Harvard University
 1990           International Relations (Commerce), A.B., Brown University

 ACADEMIC APPOINTMENTS:
 2011-present C. Boyden Gray Professor of Health Economics and Policy
              Department of Health Policy and Management
              Harvard School of Public Health
 2006-2011      Associate Professor of Health Economics and Policy
                Department of Health Policy and Management
                Harvard School of Public Health
 1998-2006      Assistant Professor of Health Economics and Policy
                Department of Health Policy and Management
                Harvard School of Public Health

 ADMINISTRATIVE APPOINTMENTS:
 2017-2018      Senior Associate Dean for Academic Affairs
                Harvard T. H. Chan School of Public Health
 2013-2017      Associate Dean for Diversity
                Harvard T. H. Chan School of Public Health

 PROFESSIONAL SOCIETIES:
 2014-present   Elected Member, National Academy of Medicine (Institute of Medicine)
 2004-present   American Society of Health Economists
 2000-present   International Health Economics Association
 1995-present   AcademyHealth
                 Planning Committee for 2008 Annual Research Meeting

 OTHER PROFESSIONAL EXPERIENCE:


                                               1
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 1996-present Academic Affiliate, Greylock McKinnon Associates

 1993-1994    Analyst, Health Economics Research, Inc./The Center for Health Economics
              Research

 1990-1993    Consultant, Price Waterhouse, Tax Economics Department

 SERVICE:
 2016-present Member, Massachusetts Center for Health Information and Analysis Oversight
              Council

 2013-2017    Board Chair, Massachusetts Health Quality Partners

 2007-2016    Member, Massachusetts Public Health Council

 2005         Expert Testimony, House Committee on Education and Workforce, House
              Subcommittee on Employer-Employee Relations, Hearing on Examining Pay-for-
              Performance Measures and Other Trends in Employer-Sponsored Health Care

 2003         Expert Testimony, Senate Special Committee on Aging, Hearing on
              Direct to Consumer Advertising of Prescription Drugs: Exploring the
              Consequences

 2001         Chair, Massachusetts Special Commission on Physician Compensation

 HONORS AND DISTINCTIONS:
 2016         AcademyHealth Paper of the Year Award

 2016         Harvard TH Chan School of Public Health Student Mentoring Award

 2015         Harvard TH Chan School of Public Health Advancement of Women Faculty
              Mentoring Award

 2014         Harvard School of Public Health Junior Faculty Mentoring Award

 2011         Harvard School of Public Health Teaching Citation

 2010         Academy of Management Best Theory to Practice Paper in Health Care
              Management

 2006         Alfred P. Sloan Foundation Industry Studies Fellowship

 2003         Labelle Lectureship in Health Policy, McMaster University




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 MAJOR ADMINISTRATIVE RESPONSIBILITIES:
 2016-2018       University President’s Task Force on Inclusion and Belonging

 2012-2014       Harvard School of Public Health Faculty Council, Vice-Chair (2012)

 2007-2014       Harvard School of Public Health Committee on Admissions and Degrees, Chair
                 (2010)

 2007            Co-Chair, Harvard School of Public Health Child Care Task Force

 2006-2011       Harvard School of Public Health Committee on the Concerns of Women Faculty

 2000-present Executive Committee on Higher Degrees in Health Policy, Harvard University

 1999-present Admissions Committee, Ph.D. Program in Health Policy, Harvard University

 EDITORIAL ACTIVITIES:
 1997-present Referee: Journal of Health Economics, Inquiry, Health Services Research, Health
              Affairs, Journal of the American Medical Association, New England Journal of
              Medicine, and others

 2012-2015       Member, New England Journal of Medicine, Perspective Advisory Board

 2008-2014       Associate Editor, Medical Care, Research and Review

 1997-1998       Assistant Editor, Evidence-based Health Policy and Management


 MAJOR RESEARCH INTERESTS:
          1. Market-oriented health policy
                 2. Physician payment incentives
                 3. Consumerism and consumer-directed health plans
                 4. Economics of the pharmaceutical industry
 RESEARCH SUPPORT:
 Past Funding:
 2015-2017       Improving the Value of Health Care Choices, Arnold Foundation, Principal
                 Investigator

 2012-2017       Optimizing Ambulatory Patient Safety in Partnership with Primary Care
                 Transformation, HMS Gift/CRICO, Co-Principal Investigator

 2016-2017       Physician Payment in ACOs, Arnold Foundation, Principal Investigator


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 2015-2020   Accelerating the Use of Evidence-based Innovations in Healthcare Systems,
             AHRQ, Principal Investigator

 2013-2015   Understanding the Use and Impact of Price Data in Health Care, RWJF, Co-
             Investigator

 2013-2015   Impact of Price Transparency Tools on Consumer Behavior, RWJF, Co-
             Investigator

 2013-2015   Getting the Complete Picture: What Does the Body of Research on the Patient-
             Centered Medical Home Really Tell Us? CMWF, Principal Investigator

 2013-2015   Prevalence and Variation in Over-Use of Health Services in Commercially
             Insured Patients, Peter G. Peterson Foundation, Principal Investigator

 2013-2015   Measuring Overuse of Health Care: Are Providers and Patients ‘Choosing
             Wisely’?, CMWF, Co-investigator

 2013-2014   Prevalence and Variation in Over-Use of Health Services in Medicare: Choosing
             Wisely, RWJF, Co-investigator

 2012-2015   Evaluating Sequential Strategies to Reduce Readmission in Diverse Populations,
             AHRQ, Co-investigator

 2010-2014   Factors Associated with Effective Implementation of a Surgical Safety Checklist,
             AHRQ (R18), Co-investigator

 2010-2014   A Randomized Trial of Behavioral Economic Interventions to Reduce CVD Risk,
             NIA (RC4), Co-investigator

 2008-2010   Rewarding Quality Diabetes Management, RWJF/Hudson Health Plan,
             Principal Investigator

 2008-2009   Effects of High-Deductible Health Plans on Families with Chronic Conditions,
             RWJF/Harvard Pilgrim Healthcare Plan, Co-Investigator

 2008-2008   Implications of Value-Based Purchasing for Health Disparities: A Synthesis of the
             Evidence, Office of Minority Health, Department of Health & Human Services,
             Principal Investigator

 2008-2008   Payment Reform Opportunities for Medicaid Programs, University of Pittsburgh,
             Principal Investigator

 2007-2009   Changes in Health Care Financing and Organization: How does Fragmentation of
             Care Contribute to the Costs of Care? RWJF/HCFO, Co-investigator



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 2006-2008    Evaluating the Impact of a Novel Pay for Performance Program in a Medicaid
              Managed Care Plan, The Commonwealth Fund, Principal Investigator

 2006-2008    Sloan Industry Studies Fellowship for Meredith Rosenthal, Alfred P. Sloan
              Foundation, Principal Investigator

 2005-2008    Incentive Formularies and the Costs and Quality of Care, Agency for Healthcare
              Research and Quality, Co-investigator

 2005-2007    Strategies to Improve the Value of Health Benefit Spending for Low-Wage
              Workers, The Commonwealth Fund, Principal Investigator

 2005–2007    Uptake and Impact of Health Risk Appraisals, RWJ Health Care Financing and
              Organization Initiative, Principal Investigator

 2003-2007    The Patterns and Impact of Value Based Purchasing, Agency for Healthcare
              Research and Quality, Co-investigator

 2002-2007    Coverage, Organization of Care, and Colorectal Screening, National Institutes of
              Health, Co-investigator

 Current Funding
 2016-2018    Generic Drug Pricing: Actionable Research for Policy, Commonwealth Fund,
              Principal Investigator

 2016-2021    Identifying Cascades of Low-Value Care and the Organizational Practices that
              Prevent Them, AHRQ, Co-Investigator

 2016-2018    Generic Drug Pricing: Actionable Research for Policy, Commonwealth Fund,
              Principal Investigator

 TEACHING EXPERIENCE

 2016-present Health Policy and Management 260: Health Economics with Applications to
              Global Health Policy

 2003-present Health Policy and Management 209: Economics for Health Policy

 2013-2014    Global Health and Health Policy 50 (Harvard College): The Quality of Care in the
              United States

 1999-2001    Health Policy and Management 507: Mental Health Economics and Policy in the
              United States




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    Peer-Reviewed Articles
    1.    Rosenthal MB, Geraty RD, Frank RG, Huskamp HA. Psychiatric provider practice
          management companies: Adding value to behavioral health care? Psychiatric Services.
          1999 Aug;50(8):1011-13.
    2.    Rosenthal MB. Risk sharing in managed behavioral health care. Health Affairs. 1999
          Sept-Oct;18(5):204-13.
    3.    Huskamp HA, Rosenthal MB, Frank RG, Newhouse JP. The Medicare prescription
          drug benefit: How will the game be played? Health Affairs. 2000 Mar-Apr;19(2):8-23.
    4.    Rosenthal MB. Risk sharing and the supply of mental health services. Journal of
          Health Economics. 2000 Nov;19(6):1047-65.
    5.    Cutler DM, Epstein AM, Frank RG, Hartman RS, King C, Newhouse JP, Rosenthal
          MB, Vigdor ER. How good a deal was the tobacco settlement?: Assessing payments to
          Massachusetts. Journal of Risk and Uncertainty. 2000;21(2/3):235-61.
    6.    Rosenthal MB, Frank RG, Buchanan JL, Epstein AM. Scale and structure of capitated
          physician organizations in California. Health Affairs. 2001 Jul-Aug;20(4):109-19.
    7.    Rosenthal MB, Landon BE, Huskamp HA. Managed care and market power:
          Physician organizations in four markets. Health Affairs. 2001 Sept-
          Oct;20(5):187-93.
    8.    Frank RG, Rosenthal MB. Health plans and selection: Formal risk adjustment vs.
          market design and contracts. INQUIRY: The Journal of Health Care Organization,
          Provision, and Financing. 2001 Fall;38(3):290-8.
    9.    Cutler DM, Gruber J, Hartman RS, Landrum ME, Newhouse JP and Rosenthal MB.
          The economic impacts of the tobacco settlement. Journal of Policy Analysis and
          Management. 2002 Winter; 21(1):1-19.
    10.   Rosenthal MB, Berndt ER, Donohue JM, Frank RG, and Epstein AM. Promotion of
          prescription drugs to consumers. New England Journal of Medicine. 2002 Feb;
          346(7):498-505.
    11.   Rosenthal MB and Newhouse JP. Managed care and efficient rationing. Journal of
          Health Care Finance. 2002 Summer;28(4):1-10.
    12.   Rosenthal MB, Frank RG, Buchanan JL, and Epstein AM. Transmission of financial
          incentives to physicians by intermediary organizations in California. Health Affairs.
          2002 Jul-Aug;21(4):197-205.
    13.   Mello M, Rosenthal MB, and Neumann PJ. Direct-to-consumer advertising and shared
          liability for pharmaceutical manufacturers. JAMA. 2003 Jan 22-29;289(4):477-81.
    14.   Rosenthal MB, Fernandopulle R, Song HR, and Landon BE. Paying for quality:
          Providers’ incentives for quality improvement. Health Affairs. 2004 March-
          April;23(2):127-41.



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    15.   Rosenthal MB and Milstein A. Awakening consumer stewardship of health benefits:
          Prevalence and differentiation of new health plan models. Health Services Research.
          2004 Aug;39(4):1055-70.
    16.   Donohue JM, Berndt ER, Rosenthal MB, Epstein AM, and Frank RG. Effects of
          pharmaceutical promotion on adherence to the treatment guidelines for depression.
          Medical Care. 2004 Dec;42(12):1176-85.
    17.   Rosenthal MB. Doughnut-hole economics. Health Affairs. 2004 Nov-Dec; 23(6):129-
          35.
    18.   Rosenthal MB, Frank RG, Li Z, and Epstein AM. Early experience with pay-for-
          performance: From concept to practice. JAMA. 2005 Oct 12;294(14):1788-93.
    19.   Rosenthal MB, Hsuan C. and Milstein A. A report card on the freshman class of
          consumer-directed health plans. Health Affairs. 2005 Nov-Dec;24(6):1592-1600.
    20.   Rosenthal MB, Zaslavsky AM and Newhouse JP. The geographic distribution of
          physicians revisited. Health Services Research. 2005 Dec;40(6):1931-52.
    21.   Rosenthal MB and Frank RG. What is the empirical basis for paying for quality in
          health care? Medical Care Research and Review. 2006 April;63(2):135-57.
    22.   Rosenthal MB and Daniels NB. Beyond competition: The normative implications of
          consumer-driven health plans. Journal of Health Politics, Policy, and Law. 2006
          Jun;31(3):671-86.
    23.   Landon BE, Rosenthal MB, Normand S-LT, Spettell C, Lessler A, Underwood HR,
          Newhouse JP. Incentive formularies and changes in prescription drug spending.
          American Journal of Managed Care. 2007 June;13(6):360-69.
    24.   Rosenthal MB, Minden S, Manderscheid R, Henderson M. A typology of
          organizational and contractual arrangements for purchasing and delivery of behavioral
          health care. Administration and Policy in Mental Health and Mental Health Services
          Research. 2006 Jul;33(4):461-9.
    25.   Rosenthal MB, Landon BE, Normand S-LT, Frank RG, Epstein AM. Pay for
          performance in commercial HMOs. New England Journal of Medicine. 2006 Nov
          2;355(18):1895-1902.
    26.   Mehrotra A, Epstein AM, Rosenthal MB. Do integrated medical groups provide
          higher-quality medical care than individual practice associations? Annals of Internal
          Medicine. 2006 Dec 5;145(11):826-33.
    27.   Donohue JM, Cevasco M, Rosenthal MB. A decade of direct-to-consumer advertising
          of prescription drugs. New England Journal of Medicine. 2007 Aug 16;357(7):673-81.
    28.   Rosenthal MB. Pay for performance and beyond. Expert Review of
          Pharmacoeconomics and Outcomes Research. 2007;7(4):351-5.
    29.   Rosenthal MB, Landon BE, Howitt K, Song HR, Epstein AM. Climbing up the pay-
          for-performance learning curve: Where are the early adopters now? Health Affairs.
          2007 Nov-Dec;26(6):1674-82.




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    30.   Rosenthal MB, Landon BE, Normand S-LT, Frank RG, Ahmad TS, Epstein AM.
          Employers’ use of value-based purchasing strategies. JAMA. 2007 Nov;298(19):2281-
          8.
    31.   Rosenthal MB, Landrum MB, Meara E, Huskamp HA, Conti RM, Keating NL. Using
          performance data to identify preferred hospitals. Health Services Research. 2007
          Dec;42(6):2109-19.
    32.   Timbie JW, Newhouse JP, Rosenthal MB, Normand S-LT. A cost-effectiveness
          framework for profiling the value of hospital care. Medical Decision Making. 2008
          May-Jun;28(3):419-34.
    33.   Landon BE, Rosenthal MB, Normand SL, Frank RG, Epstein AM. Quality monitoring
          and management in commercial health plans. American Journal of Managed Care.
          2008 Jun;14(6):377-86.
    34.   Meara E, Rosenthal MB, Sinaiko A, Baicker K. State and Federal approaches to health
          reform: What works for the working poor? Forum for Health Economics and Policy.
          2007 July;10(1).
    35.   Mello MM, Rosenthal MB. Wellness programs and lifestyle discrimination - the legal
          limits. New England Journal of Medicine. 2008 Jul;359(2):192-9.
    36.   Camillus JA, Rosenthal MB. Health care coalitions: From joint purchasing to local
          health reform. Inquiry. 2008 Summer;45(2):142-52.
    37.   Schneider EC, Rosenthal MB, Gatsonis CG, Zheng J, Epstein AM. Is the type of
          Medicare insurance associated with colorectal cancer screening prevalence and
          selection of screening strategy? Medical Care. 2008 Sept;46(9):S84-90.
    38.   Rosenthal MB, DeBrantes FS, Sinaiko AD, Frankel M, Robbins RD, Young S.
          Bridges to excellence--Recognizing high quality care: Analysis of physician quality and
          resource use. American Journal of Managed Care. 2008 Oct;14(10):670-7.
    39.   Bae, SJ, Rosenthal MB. Patients with multiple chronic conditions do not receive lower
          quality of preventive care. Journal of General Internal Medicine. 2008
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    40.   Timbie JW, Shahian DM, Newhouse JP, Rosenthal MB, Normand S-LT. Composite
          measures for hospital quality using quality-adjusted life years. Statistics in Medicine.
          2009 Jan;28(8):1238-54.
    41.   Rosenthal MB, Landon BE, Normand S-LT, Ahmad TS, Epstein AM. Engagement of
          health plans and employers in addressing racial and ethnic disparities in health care.
          Medical Care Research and Review. 2009 Apr;66(2):219-31.
    42.   DeBrantes FS, D’Andrea G, Rosenthal MB. Should health care come with a warranty?
          Health Affairs. 2009 Jun;28(4):w678-87.
    43.   Huskamp HA, Rosenthal MB. Health risk appraisals: How much do they influence
          employees’ health behavior? Health Affairs. 2009 Sept/Oct;28(5):1532-40.




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          prenatal care on birth outcomes and spending. Health Services Research. 2009
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    45.   Rosenthal MB, Li Z, Milstein A. Do patients continue to see physicians who are
          removed from a PPO network? American Journal of Managed Care. 2009
          Oct;15(10):713-9.
    46.   Bae SJ, Rosenthal MB. Pharmaceutical promotion, prior authorisation and the use of
          erectile dysfunction medications in the US Medicaid population. Journal of
          Management and Marketing in Healthcare. 2009 Nov;2(4):384-400.
    47.   Mullen K, Frank RG, Rosenthal MB. Can you get what you pay for? Pay-for-
          performance and the quality of health care providers. RAND Journal of Economics.
          2010 Spring;41(1):64-91.
    48.   Sinaiko A, Rosenthal MB. Consumer experience with a tiered physician network:
          Early evidence. American Journal of Managed Care. 2010 Feb;16(2):123-30.
    49.   Gilfillan RJ, Tomcavage J, Rosenthal MB, Davis DE, Graham J, Roy JA, Pierdon SB,
          Bloom FJ Jr, Graf TR, Goldman R, Weikel KM, Hamory BH, Paulus RA, Steele GD Jr.
          Value and the medical home: Effects of transformed primary care. American Journal of
          Managed Care. 2010 Aug;16(8):607-14.
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          perspectives on pay-for-performance and racial/ethnic disparities in care. Medical Care
          Research and Review. 2010 Oct;67(5):574-89.
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          insurance design. Health Affairs. 2010 Nov;29(11)1988-94.
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          Landon BE, Lieu TA. Health care use and decision making among lower-income
          families in high-deductible health plans. Archives of Internal Medicine. 2010 Nov 22;
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          MB, Wharam JF, Adams AS, Miroshnik I, Lieu TA. Use of well-child visits in high-
          deductible health plans. American Journal of Managed Care. 2010 Nov;16(11):833-40.
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          pay for performance in Medicaid-managed care. Health Services Research. 2010
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          Bringing us closer to value-based decisions. American Journal of Managed Care. 2011
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          half of families in high-deductible health plans whose members have chronic conditions
          face substantial financial burden. Health Affairs. 2011 Feb;30(2):322-31.
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          delivery. Medical Care Research and Review. 2011 Feb;68(1),112-27.
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          classes. American Journal of Pharmacy Benefits. 2011 May/Jun;3(3):152-64.
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          experiment: Slow start shows problems in implementing new payment models. Health
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          groups, and hospitals can have greater impact on consumer choices. Health Affairs.
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          policy exacerbate disparities? Circulation: Cardiovascular Quality and Outcomes.
          2012 Mar;5(2):148-9.
    63.   Conti RM, Rosenthal MB, Polite BN, Bach PB, Shih YC. Infused chemotherapy use in
          the elderly after patent expiration. Journal of Oncology Practice. 2012 May
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          Delayed and forgone care for families with chronic conditions in high-deductible health
          plans. Journal of General Internal Medicine. 2012 Sep;27(9):1105-11.
    65.   Weissman JS, Bailit M, D’Andrea G, Rosenthal MB. The design and application of
          shared savings programs: Lessons from early adopters. Health Affairs. 2012
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          to improve diabetes care in the safety net. Preventive Medicine. 2012 Nov;55:S80-5.
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          Prevalence of off-label use and spending in 2010 among patent-protected
          chemotherapies in a population-based cohort of medical oncologists. Journal of
          Clinical Oncology. 2013 Mar 20;31(9):1134-9.
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          multipayer patient-centered medical home on health care utilization and quality: The
          Rhode Island chronic care sustainability initiative pilot program. JAMA Internal
          Medicine. 2013 Nov 11;173(20):1907-13.
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          C, Rosen M, Weaver SJ, Johnson A, Welch R, Nass PL, McGonigal K. Navigating to




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          era of heightened accountability: Emphasizing quality and accelerating savings.
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          Prevalence and correlates of low-value health care services in the United States.
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    86.   Rosenthal MB, Alidina S, Friedberg MW, Singer SJ, Eastman D, Li Z, Schneider EC.
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          neighborhoods: Insights from the early experiences of Colorado patient-centered
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 Biovail Laboratories, Inc., Biovail Laboratories International SRL, and Smithkline Beecham D/B/A
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 State of West Virginia, ex rel. Darrell V. McGraw, Jr., Attorney General v. Rite Aid of West
 Virginia, Inc., in the Circuit Court of Boone County, West Virginia, Civil Action No. 09‐C‐217

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 Authority, United States District Court for the Western District of North Carolina, Charlotte
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 Prof. Meredith Rosenthal                                            Listing of Testimony (2014‐Present)‐2
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                                           Materials Relied Upon
 Legal documents

 21 C.F.R. §202.1.
 21 C.F.R. §314.126.
 21 U.S.C. §355(a)-(d).
 Corrected Second Amended Complaint, In Re National Prescription Opiate Litigation, MDL No. 2804,
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 Deposition of John Hassler, Teva, in this matter, November 16, 2018.
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 Deposition of Kimberly Deem-Eshleman, Janssen, in this matter, November 15, 2018.
 Deposition of Phil Cramer, Purdue, in this matter, November 19, 2018.
 Deposition of Ronald Perry Wickline, Endo Labs, in this matter, November 13, 2018.
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 EPI001466339
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                                                  Technical Appendix

      I.         Direct Approach

  The basic form of an aggregate model of the effect of promotion on total opioid MME sales is:

           Qt= 0+ β0 St + ∑ 𝛾 j Xjt + εt                                                                          (D.1)

           St = (1-δ0) St-1 + Dt                                                                                   (D.2)

           Where:

           Qt               is the quantity of opioids prescribed in period t measured by morphine milligram
                            equivalents (MME).

           Dt               is the current flow of marketing activities for opioids in period t.

           St               is the aggregate stock of marketing activities for opioids in period t. This includes
                            promotion measured as the number of detailing contacts.1

           Xjt              is a set of time-varying factors hypothesized to impact prescribing.



  Data Sources

  The main source of data used for the direct analysis is data vendor IQVIA, in particular its National
  Prescription Audit (NPA) Retail Data, National Sales Perspective (NSP) Wholesale data, and Integrated
  Promotional Services (IPA) on drug promotion. There are no reports of contacts for Purdue for
  OxyContin during the 24-month period January 2001 through December 2002. Based on information




  1
    Note that the promotion stock variable is recursive; for example, in first period it is S 1=D1, in the second period it
  is S2=(1-δ0) D0 + D2, in the third period it is S3=(1-δ0)2 D1 +(1-δ0) + D2 + D3, etc. As the parameter δ0 is part of the
  estimation process and enters the model nonlinearly, the model cannot be estimated using ordinary least squares.
  In early academic work that used the concept of depreciating capital stock of promotion, the depreciation rate was
  estimated using a grid search. (See E. Berndt, L. Bui, D. Lucking-Reiley, G. Urban, “The Roles of Marketing, Product
  Quality, and Price Competition in the Growth and Composition of the U.S. Antiulcer Drug Industry,” in T. Bresnahan
  and R. Gordon, The Economics of New Goods, Chicago: University of Chicago Press for the NBER, 1996, pp. 277-
  328). The statistical package I used for this estimation, SAS v9.4 has the capability to estimate non-linear models
  that use lags of the form used in this model (via the command “proc model”) and is able to estimate the standard
  errors for the depreciation parameter, δ0.



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  provided through discovery, Purdue reported the monthly detail calls for OxyContin from January 1999
  to November 2002.2 These monthly sales calls overlapped with reported IQVIA detailing contacts. A
  statistical relationship between Purdue data and IQVIA data was determined and used to predict the
  missing IQVIA contacts.

  IQVIA IPS did not report detailing contacts by physician specialty in 2011, but it did report total contacts
  for each month. The distribution of contacts across specialties was determined in adjacent months for
  each manufacturer and drug. When sufficient information was available, the distribution of contacts
  across specialties was calculated. In instances where manufacturers only promoted a drug in 2011, the
  distribution of contacts across specialties was obtained from all manufacturers that promoted for that
  drug.

  This same technique was used to determine the distribution of Purdue sales calls across physician
  specialties in 2001 and 2002.

  The ARCOS shipments data were provided to me by Compass-Lexecon.3

  Extended units were converted to morphine milligram equivalents using information from the U.S.
  Centers for Disease Control4 and Excellus Blue Cross Blue Shield.5



  Drugs Included in the Case

  The drugs included in this analysis are limited to the drugs identified in ARCOS shipments data that were
  also found in IQVIA National Perspective Audit (NPA) retail prescription data. The drugs were matched by
  National Drug Code (NDC) where possible, or otherwise on standardized drug name matches. Injectable
  drugs were excluded while all other forms of opioid drugs were included. All buprenorphine drugs were
  excluded, except for Butrans. The list of drugs was further limited to those that were ever classified as



  2
      See OxyContin, State of the Brand, January 2003, PKY182070977.pdf PKY182070977 at 989.
  3
      US ARCOS Total Shipments by NDC Code.xlsx.
  4
   CDC, “Data Resources: Analyzing Prescription Data and Morphine Milligram Equivalents (MME)” (Excel spreadsheet
  available at https://www.cdc.gov/drugoverdose/resources/data.html).
  5
    “Summary of Opioid POS for CY19” ( https://www.excellusbcbs.com/wps/wcm/connect/4c541bc8-d8e2-41a1-
  9bba-83bbe1516ba6/Medicare+D+Formulary-
  Level+Cumulative+Opioid+and+Opioid++Buprenorphine+POS+Edits_03_01_2018.pdf?MOD=AJPERES&CACHEID=4c
  541bc8-d8e2-41a1-9bba-83bbe1516ba6).


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  DEA Class II, except for Butrans, which is a DEA Class III drug. Based on information from the CDC, the
  milligram morphine equivalent (MME) was computed for each drug. The list of drugs used in this analysis
  is shown in Attachment C, Table C.1.

  Data Descriptions

  The aggregate national MME sales show the MME sales from all of the drugs shown in Table C.1. These
  drugs are manufactured and promoted by the Defendants and other non-Defendants. More detailed
  summaries of manufacturer and drug specific sales and promotion information are given in Tables C.2 and
  C.3.

  Changes in the Effectiveness of Promotion

  The factors that contributed to the growth, acceleration in growth, and the ultimate drop in sales are
  described in the main text. See Figure D.1 below.

  The model specification of interest estimates the impact of changes in aggregate marketing on sales. The
  impact of marketing on sales has typically been estimated as a single coefficient that is assumed to be
  constant over the estimation period. The baseline model in equation (D.1) is specified assuming a constant
  impact of promotion, β0. However, empirical evidence indicates that the return to a change in the stock
  of detailing varies over the 1993-2018 period.

  An empirical model of the return to marketing may capture the net return based on pharmaceutical
  marketing stock in conjunction with all countervailing efforts that influence physician prescribing
  behavior. These influences change over time and three alternative specifications are considered below.
  Each of the models below includes an aggregate price index for opioids in X which represents additional
  explanatory variables.

          Qt= 0 + β0 St + θ0 Xt + εt                                                         Model A (D.3)

          Qt= 0 + (β1D1 + β2D2 + β3DT3) St + θ0 Xt + εt                                      Model B (D.6)

          Qt= 0 + (β1D1 + β2D2 + β3DT3) St + ∑ θ0j Xjt+ εt                                   Model C (D.5)

          Where:

          Model A:         0, β0, θ0 and δ0are coefficients to be estimated

          Model B          0, β1, β2 , β3, θ0 and δ0 are estimated, D1 is a dummy with value=1 prior to March
                           2002 and equal to 0 starting March 2002; D2 is a dummy with value=0 prior to March


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                          2002 and equal to 1 starting March 2002; and DT3 is a dummy trend 0 prior to
                          August 2010, 1 starting August 2010 and increments by 1 for each month thereafter

          Model C         Same parameters definitions as Model C, adding explanatory variables to account
                          for the potential influence of events. In this model a set of six explanatory variables
                          is represented by the matrix X. These are the price index plus five dummy variables
                          to account for events.



  Model A does not allow for a change in the effectiveness of promotion. Models B and C allow for two
  changes in the effectiveness of promotion. In all models include rate of depreciation, δ 0, for the stock of
  promotion that is constant throughout the period 1993-2018.

  The econometric results from estimating equation D.3 and Model A are shown below in Table D.1; the
  predicted values are shown in Figure D.1. The results from estimating equation D.2 and Model B which
  accounts for the change in effectiveness at two points in time are shown in Table D.2 and the predicted
  values are shown in Figure D.2. Model C is shown in Table D.3 and Figure D.3.

  Aggregate Price Index for Opioids

  A Fisher ideal price index was used as the measure of prices of the opioid drugs in the model. The Fisher
  ideal is a well-regarded price-index method that takes into account changes in product composition and
  characteristics over time.6 It is used by the U.S. Bureau of Economic Analysis to estimate changes in
  pharmaceutical prices over time, adjusting for changes in product attributes and quality.7 The price index
  was constructed using monthly data on the dollar value of sales and quantity of extended units for each
  drug/form/strength combination in the data. I followed standard procedures to account for the entry of
  new drugs and exit of drugs by including in the index calculation for a given period only those
  drug/form/strength combinations that were present in two consecutive months.




  6
    A. Aizcorbe and N. Nestoriak, “Changing mix of medical care services: Stylized facts and implications for price
  indexes,” Journal of Health Economics, 30(3), 2011, pp. 568-574. A. Aizcorbe and N. Nestoriak, “Price Indexes for
  Prescription Drugs: A Review of the Issues,” in Oxford Handbook of the Economics of the Biopharmaceutical Industry,
  eds., P. Danzon and S. Nicholson, Oxford, UK: Oxford University Press, 2012, pp. 438-462.
  7
   A. Dunne, S. Grosse and S. Zuvekas, “Adjusting Health Expenditures for Inflation: A Review of Measures for Health
  Services Research in the United States,” Health Services Research, 53(1), 2016, pp.175-196.


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  Determining Turning Points in Effectiveness of Promotion

  In Model B the two dates that would delineate the early and late change in the effectiveness of
  promotional stock were determined through a two-dimension search. The first turning point was chosen
  between January 1999 and January 2003; and the second turning point was chosen with the date between
  January 2010 to December 2011. There are 1,176 combinations of these two months, so the model is
  estimated 1,176 times. The date combination with the best fit, defined as the greatest Wald statistic was
  April 2002 and September 2010. Model C used the same turning points as found in Model B.

  Separate from marketing efforts, there are other factors that could potentially influence the sales of
  opioids. While marketing to physicians is one important explanation for changes in sales, and the use of
  dummy variables captures broad factors that influence the market for opioids, there could still be factors
  that influence physicians to write prescriptions and consumers in their willingness to fill prescriptions for
  opioids. To test the robustness of the Model C I used the same turning points and introduce five events
  into the model. These events are identified here:

             dd_jan1998_APPM_APS                   Consensus Statement From AAPM/APS 01/1998
             dd_jan1999_FSMBG                      Federation of State Medical Boards Guidelines 01/1999
             dd_jan2001_JCAHO                      JCAHO pain standards releases 01/2001
             dd_Aug2010_OxyContin                  OxyContin Reformulation 08/2010
             dd_oct2014_hydro_resched              Hydrocodone Rescheduling 10/2014"

  My a priori expectation is that the first three events would have a positive impact on the quantity of MMEs
  prescribed per month. The reformulation of OxyContin could have an ambiguous impact on MME sales.
  On one hand, the new reformulation was intended to make it more difficult to use the drug for illicit
  purposes; for that reason, it could reduce MME sales (to the extent that diversion was prevalent.) On the
  other hand, physicians could be less hesitant to prescribe the drug since they were assured that it would
  be less likely to be used illicitly. The impact of rescheduling hydrocodone from Class III to Class II could
  result in a reduction of MME sales.

  The results from estimating this model are shown in Table D.3 and the predicted values are shown in
  Figure D.3. The signs of the coefficients on the event dummies did not conform to my a priori
  expectations. The sign on the consensus statement was negative which is directly at odds with the
  intension of the consensus statement. While two coefficients were statistically significant, as a group they
  were jointly insignificant.


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  Sensitivity tests

  Additional sensitivity tests were conducted based on my preferred Model B. Beginning with Model B, I
  considered a time trend as an alternative to the price index. The time trend incremented by 1 for each
  month after January 1993. As shown in Table D.6, the time trend is not statistically significant at 5% level
  of significance, and it does not have a material impact on the other parameter estimates and the measure
  of harm. Moreover, the introduction of a time trend is not an appropriate explanatory variable when one
  is trying to explain the cause of a trend as opposed to trying to exclude the impact of the trend. In this
  empirical exercise, the objective is to try and explain the cause of the trends, so I would prefer not to
  detract from the explanatory power of promotional efforts.

  Alternative Dependent Variable

  The total number of extended units (i.e., pills) dispensed at the retail level was also considered as a
  dependent variable. As MMEs are computed from extended units (converted to morphine milligram
  equivalents), the two are very closely related (as shown in Figure 2 of my report). The turning points for
  Model B and C were determined using the same methods as described above. Results are shown in Table
  D.7 through D.9 and Figure D.6 through D.8.

  But-For Calculations

  The measure of harm is determined based on the estimated parameters for each of the models. The
  number of detailing contacts that are alleged to be tainted by misconduct are removed from the aggregate
  measure of contacts. The stock of promotion is then recomputed using the estimated parameter values
  for δ0. The measure of harm is then computed as the difference between predicted actual dependent
  variable and the predicted dependent variable with the but-for assumptions imposed.

  Comcast Considerations

  The calculation of impact due to misconduct can be readily revised to conform to any ruling by the court.
  For example, if, for some reason, a specific Defendant was exempted from liability because their
  marketing messages were not found to be unlawful, then the measure of harm can be updated to include
  that Defendants’ promotion in the but-for – and lawful promotion. This is shown in Table 3 of the main
  report. This same technique can be used to account for changes that exempt for liability at a specific point
  in time, that exempt promotion to specific physician specialties, or for promotion for specific drugs. Any
  combination of these considerations can be accommodated with the analysis developed here.



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      II.     Indirect Approach

  The indirect approach undertakes an analysis of “excess shipments” of opioids over the period 1995-2016.
  This analysis assumes that per capita consumption of opioids prior to 1997 is untainted by Defendant
  fraudulent marketing. The pattern of consumption is modeled across large counties in the US and then
  this level of use is extended forward in time based on changes in demographic characteristics. The impact
  of prices is also accounted for through the inclusion of a price index.

  Estimates of “but for” shipments are based on: (i) the relationship between MMEs per capita and county
  characteristics observed in 1997, and (ii) changes in the demographic/economic characteristics of counties
  over time. The analysis begins with a measure of “but for” shipments accounts for trends in per capita
  shipments prior to the period of Defendants’ alleged misconduct.

  This indirect approach assumes that MMEs per capita would grow based at a rate reflecting the average
  annual growth in shipments from 1980-1995 as reported by the International Narcotics Control Board.
  These data are available for the U.S. as whole and are comparable for national estimates of MME per
  capita from ARCOS.

  The year 1997 is used as the benchmark period because it is the first for which shipment data are available
  from ARCOS. Because Defendants’ misconduct elevated 1997 shipments above “but for” levels, this
  approach yields a conservative estimate of excess shipments.

  IQVIA data is used to estimate the conversion to an earlier benchmark year, by incorporating an
  adjustment to these results to reflect changes in shipments between 1995 and 1997.

  The relationship between MMEs per capita and county characteristics is estimated using the large county
  sample used in the mortality analysis.

  Indirect Regression model

  A regression model generates estimates of the relationship between MMEs per capita in a county (the
  dependent variable), and a variety demographic and economic characteristics of sample counties in 1997.
  These explanatory variables include: the distribution of area population by age, race, gender, and
  educational attainment; labor force participation and unemployment in the area; the distribution of area
  employment by major industry; county population; the percent of county population living in urban areas;
  and the county’s poverty rate, cancer deaths and prevalence of uninsured.




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  “But for” estimates of MMEs per capita for subsequent years are generated based on the regression
  estimates and changes over time in the economic and demographic characteristics of sample counties.
  The results of the regression analysis are shown in the main report in Table. The calculated harms are
  reported in Table

  Data Sources

  The main data sets used for this analysis are as follows:

            INCB Opioid Consumption Data.xlsx                U.N. International Narcotics Control Board
            County level demographic information             AHRQ Area Hospital Research File
            Opioid shipments data                            ARCOS data provided by Compass-Lexecon
            Cancer controls                                  Center for Disease Control
            Indirect regression data                         Demographic information
            Mortality rates                                  Center for Disease Control

      III.       Appropriate Use Analysis

  The Appropriate Use Analysis estimated the demand in MMEs of appropriate opioid use for (1) end-of-life
  cancer care, (2) acute post-surgical care, and (3) ER trauma incidents. National and county-level analyses
  were performed separately due to data availability.

      A. National-Level

  Cancer: cancer mortality data were acquired from Surveillance, Epidemiology, and End Results (SEER),
  Centers for Disease Control and Prevention (CDC) [deaths/100,000 persons] and multiplied by total
  population/100,000 by year to calculate number of cancer deaths by year. See Table D (a). Data was
  available for 1980-2015. Daily MME dose was assigned as 80 MMEs/day. Treatment duration was assigned
  as 64 days/death. Duration was calculated from the average of studies, weighted by sample size, discussed
  in Carlson (2016).8 Studies were selected if they reported both the sample size and the average duration
  of treatment. MMEs/year for cancer was then calculated as cancer deaths * treatment duration * daily
  dose.




  8
   Carlson, Cathy. “Effectiveness of the World Health Organization Cancer Pain Relief Guidelines: An Integrative
  Review.” Journal of Pain Research, Volume 9, 2016, pp. 515–534.

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                                                          Table D (a)
                                                  National Cancer Mortality

                                                  [1]                            [2]
                                            Death Rate      Population        # deaths
                                   Year
                                            [/100,000]
                                   1995        209.89       266,278,400       558,892
                                   1996          207        269,394,300       557,646
                                   1997        203.55       272,646,900       554,973
                                   1998        200.82       275,854,100       553,970
                                   1999        200.72       279,040,200       560,089
                                   2000        198.79       282,162,400       560,911
                                   2001        196.29       284,969,000       559,366
                                   2002        194.36       287,625,200       559,028
                                   2003        190.89       290,107,900       553,787
                                   2004        186.84       292,805,300       547,077
                                   2005        185.23       295,516,600       547,385
                                   2006        182.03       298,379,900       543,141
                                   2007        179.26       301,231,200       539,987
                                   2008        176.32       304,094,000       536,179
                                   2009         173.4       306,771,500       531,942
                                   2010        171.74       309,349,700       531,277
                                   2011        168.74       311,644,300       525,869
                                   2012        166.34       313,993,300       522,296
                                   2013        163.19       316,234,500       516,063
                                   2014         161.3       318,622,500       513,938
                                   2015        158.68       321,039,800       509,426

                               SOURCES and NOTES:
                                         1 Deaths rates from SEER, CDC.
                                         2 #deaths = death rate * population/1000,000


  Trauma:

  Trauma incidence was identified as national emergency department trauma/injury incidents from the
  Health Care Utilization Project (HCUP), Agency on Healthcare Research and Quality (AHRQ). Trauma and
  injury are classified by the Clinical Classification System (CCS) codes: 2601-2611, 2614. These codes
  encompass all ICD-9 codes for External cause of injury (E codes) except those for poisoning, overexertion,
  suffocation, adverse effects of medical care/drugs, and other or unspecified causes. Data was available
  for 2006-2014. Daily MME dose was assigned as 30 MMEs/day. Treatment duration was assigned as 7
  days/incident. MMEs/year for trauma was then calculated as trauma incidents * treatment duration *
  daily dose. MMEs/year in years for which epidemiological data were missing then were modeled using
  previously calculated MMEs/year data.




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     Surgery:

     Surgical procedures were identified as both inpatient and outpatient short-term general and short-term
     non-general (general v. non-general refers to hospital type) from the Area Health Resource File (AHRF),
     Health Resources & Services Administration (HRSA). Data was available for 2005, 2010, and 2014. These
     included AHRF variables: f0958705, f0958710, f0958714 (Total Surgery STG), and f0958905, f0958910,
     f0958914 (Total Surgery STNG). The number of total surgeries in-between available years were calculated
     by linear imputation (2006-2009 and 2011-2013). Shown in Table D (b).

                                                                         Table D (b)
                                         Surgery Imputation for Number of Operations Nationally
               [1]            [2]            [3]                   [4]              [5]             [6]                   [7]             [8]             [9]
            Inpatient    Inpatient           Total             Outpatient      Outpatient         Total              Total Surgery   Total Surgery
  Year     Surgery STG Surgery STNG       Inpatient            Surgery STG    Surgery STNG     Outpatient                 STG            STNG        Total Surgery
  2005      9,993,160     489,916         10,483,076            17,272,265      1,152,442      18,424,707             27,265,425       1,642,358      28,907,783
  2006      9,966,097     488,955         10,455,052            17,268,204      1,162,480      18,430,685             27,234,301       1,651,435      28,885,736
  2007      9,939,034     487,994         10,427,028            17,264,143      1,172,519      18,436,662             27,203,177       1,660,513      28,863,690
  2008      9,911,970     487,033         10,399,003            17,260,083      1,182,557      18,442,640             27,172,053       1,669,590      28,841,643
  2009      9,884,907     486,072         10,370,979            17,256,022      1,192,596      18,448,617             27,140,929       1,678,668      28,819,597
  2010      9,857,844     485,111         10,342,955            17,251,961      1,202,634      18,454,595             27,109,805       1,687,745      28,797,550
  2011      9,629,276     468,863         10,098,139            17,214,348      1,244,638      18,458,986             26,843,624       1,713,501      28,557,125
  2012      9,400,709     452,615          9,853,323            17,176,735      1,286,643      18,463,377             26,577,443       1,739,257      28,316,700
  2013      9,172,141     436,366          9,608,507            17,139,121      1,328,647      18,467,768             26,311,262       1,765,013      28,076,275
  2014      8,943,573     420,118          9,363,691            17,101,508      1,370,651      18,472,159             26,045,081       1,790,769      27,835,850



SOURCES and NOTES:
         Data from the Area Health Resource File (AHRF)
      1 AHRF variables: f0958305, f0958310, f0958314. STG = Short Term General Hospital
      2 AHRF variables: f0958405, f0958410, f0958414. STNG = Short Term Non-General Hospital
      3 Total Inpatient = Inpatient STG + Inpatient STNG
      4 AHRF variables: f0970705, f0970710, f0970714
      5 AHRF variables: f0958605, f0958610, f0958614
      6 Total Outpatient = Outpatient STG + Outpatient STNG
      7 AHRF variables: f0958705, f0958710, f0958714
      8 AHRF variables: f0958905, f0958910, f0958914
      9 Total Surgery = Total Surgery STG + Total Surgery STNG

Values calculated by linear imputation

          f09583(05,10,14) = Surgical Operations, Inpatnt Short Term General Hospitals (2005, 2010, 2014)
          f09584(05,10,14) = Surgical Operations, Inpatnt ST Non-Gen + Long Term Hosps (2005, 2010, 2014)
          f0707(05,10,14) = Surgical Operations, Outpatnt Short Term General Hospitals (2005, 2010, 2014)
          f09586(05,10,14) = Surgical Operations, Outpatnt ST Non-Gen + Long Term Hosps (2005,2010,2014)
          f09587(05,10,14) = Surgical Operations, Total Short Term General Hospitals (2005,2010,2014)
          f09589(05,10,14) = Surgical Operations, Total ST Non-Gen + Long Term Hosps (2005,2010,2014)

          User Documentation for the County Area Healt Resource File (AHRF) 2016-2017 Release defines Surgical Operations and Operating Rooms within
          Utilization on pg 67: 2005, 2010 and 2014 number of Surgical Operations by Patient Status (i.e., inpatient versus outpatient) are tallied for short term
          general hospitals, and short term non‑general and long term hospitals which were open in each of the respective years. Number of Surgical Operations
          are available for Veterans hospitals which were open in 2014. Number of Operating Rooms are available for short term general hospitals and short term
          non-general and long term hospitals for 2005, 2010 and 2014.




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  Daily MME dose was assigned as 30 MMEs/day. Treatment duration was assigned as 7 days/incident.
  MMEs/year for surgery was then calculated as surgical procedures * treatment duration * daily dose.
  MMEs/year in years for which epidemiological data were missing then were modeled using previously
  calculated MMEs/year data.

  Total Appropriate MMEs were then summed across cancer, trauma, and surgery by year. Total
  Appropriate MMEs were then multiplied by 1.5 to account for potential underestimation of the data or
  treatment variables (treatment duration or daily dose).

  Total Actual MMEs prescribed were summed by year from the regression data (see Data).

      B. County-Level (Cuyahoga and Summit)

  Cancer: annual cancer mortality data by county for Cuyahoga and Summit were received from Compass-
  Lexecon. Data was available for 1992-2016. Daily MME dose and treatment duration were again 80
  MMEs/day for 64 days. MMEs/year for cancer was then calculated as cancer deaths * treatment duration
  * daily dose. MMEs/year in years for which epidemiological data were missing then were modeled using
  previously calculated MMEs/year data.

  Trauma: trauma incidence was identified as national emergency department trauma/injury incidents from
  the Health Care Utilization Project (HCUP), Agency on Healthcare Research and Quality (AHRQ). Trauma
  and injury were again classified by the CCS codes: 2601-2611, 2614. Trauma incidents/100,000 persons
  nationally were then multiplied by county populations/100,000 persons by year to estimate county-level
  trauma incidents.




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                                                       Table D (c)
             Trauma Estimation for Number of Trauma ER Visits in Cuyahoga and Summit, OH.

                             [1]           [2]           [3]          [4]            [5]           [6]
               Year    Visits/100,000 Cuyahoga Pop    Summit    Cuyahoga trauma Summit trauma Total Trauma
                          persons                       Pop         [visits]       [visits]      [visits]
               2006        6,761.5      1,314,241     545,931       88,862         36,913        125,776
               2007        6,734.4      1,295,958     543,487       87,275         36,601        123,876
               2008        6,800.1      1,283,925     542,562       87,308         36,895        124,203
               2009        6,723.8      1,275,709     542,405       85,776         36,470        122,246
               2010        6,867.2      1,280,122     541,781       87,909         37,205        125,114
               2011        6,719.4      1,270,294     539,832       85,356         36,273        121,630
               2012        6,800.1      1,265,111     540,811       86,029         36,776        122,805
               2013        6,611.9      1,263,154     541,824       83,518         35,825        119,343
               2014        6,692.8      1,259,828     541,943       84,318         36,271        120,589

             Calculated Value

             SOURCES and Notes:
                   1 HCUP, AHRF
                   2 Area Health Resource File (AHRF) County code 39035
                   3 Area Health Resource File (AHRF) County code 39153
                   4 Cuyahoga trauma = (Visits/100,000 persons)*(Cuyahoga Pop)/100,000. [4]=[1]*[2]/100,000
                   5 Summit trauma = (Visits/100,000 persons)*(Summit Pop)/100,000. [5]=[1]*[3]/100,000
                   6 Total Trauma = Cuyahoga trauma + Summit Trauma. [6]=[4]+[5]



  Daily MME dose and treatment duration were again 30 MMEs/day for 7 days. MMEs/year for trauma was
  then calculated as trauma incidents * treatment duration * daily dose. MMEs/year in years for which
  epidemiological data were missing then were modeled using previously calculated MMEs/year data.

  Surgery:

  Surgical procedures were identified as both inpatient and outpatient short-term general and short-term
  non-general from AHRF, HRSA. Data was available for 2005, 2010, and 2014. These included AHRF
  variables: f0958705, f0958710, f0958714 (Total Surgery STG), and f0958905, f0958910, f0958914 (Total
  Surgery STNG) for AHRF county codes 39035 (Cuyahoga) and 39153 (Summit). The number of total
  surgeries in-between available years were calculated by linear imputation (2006-2009 and 2011-2013).
  Daily MME dose and treatment duration were again 30 MMEs/day for 7 days. MMEs/year for surgery was
  then calculated as surgical procedures * treatment duration * daily dose. MMEs/year in years for which
  epidemiological data were missing then were modeled using previously calculated MMEs/year data.




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  Total Appropriate MMEs were then summed across cancer, trauma, and surgery by year. Total
  Appropriate MMEs were then multiplied by 1.5 to account for potential underestimation of the data or
  treatment variables (treatment duration or daily dose).

  Data Sources:

         Surveillance, Epidemiology, and End Results (SEER), Centers for Disease Control and Prevention
          (CDC).
         Health Care Utilization Project (HCUP), Agency on Healthcare Research and Quality (AHRQ).
         Area Health Resource File (AHRF), Health Resources & Services Administration (HRSA).
         Direct Regression data Model B (see Data section, IQVIA NPA, IQVIA NSP, ARCOS, CDC)
         Total Actual MMEs shipped were received from Compass-Lexecon.




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                                                                  Table D (d)
                      Surgery Imputation for Number of Operations in Cuyahoga and Summit, OH.
                                                  Surgery Imputation for Number of Operations in Cuyahoga
              [1]          [2]        [3]                     [4]           [5]           [6]                  [7]           [8]        [9]
  Year     Inpatient    Inpatient    Total                 Outpatient    Outpatient     Total             Total Surgery Total Surgery Total
          Surgery STG Surgery STNG Inpatient              Surgery STG Surgery STNG Outpatient                  STG          STNG      Surgery
  2005       85911          65           85,976             171,234          149         171,383                 257,145         214       257,359
  2006       86,345         75           86,420             172,124          214         172,338                 258,468         290       258,758
  2007       86,778         86           86,864             173,013          279         173,293                 259,791         365       260,157
  2008       87,212         96           87,308             173,903          345         174,247                 261,115         441       261,555
  2009       87,645         107          87,752             174,792          410         175,202                 262,438         516       262,954
  2010       88079          117          88,196             175682           475         176,157                 263,761         592       264,353
  2011       86,702         91           86,793             182,107          700         182,807                 268,809         791       269,599
  2012       85,325         65           85,389             188,532          925         189,457                 273,857         989       274,846
  2013       83,947         38           83,986             194,957         1,149        196,106                 278,904        1,188      280,092
  2014       82570          12           82,582             201,382         1,374        202,756                 283,952        1,386      285,338

                                                  Surgery Imputation for Number of Operations in Summit
              [1]          [2]        [3]                    [4]           [5]           [6]                       [7]           [8]        [9]
  Year     Inpatient    Inpatient    Total                Outpatient    Outpatient      Total                 Total Surgery Total Surgery Total
          Surgery STG Surgery STNG Inpatient             Surgery STG Surgery STNG Outpatient                       STG          STNG      Surgery
  2005       19151         3,005         22,156              30,293        11,143         41,436                 49,444        14,148       63,592
  2006       18,111        3,010         21,121              30,101        11,578         41,680                 48,213        14,588       62,801
  2007       17,072        3,015         20,086              29,910        12,014         41,924                 46,982        15,028       62,010
  2008       16,032        3,019         19,052              29,718        12,449         42,167                 45,750        15,469       61,219
  2009       14,993        3,024         18,017              29,527        12,885         42,411                 44,519        15,909       60,428
  2010       13,953        3,029         16,982              29,335        13,320         42,655                 43,288        16,349       59,637
  2011       14,011        3,152         17,163              28,919        13,208         42,127                 42,929        16,360       59,289
  2012       14,068        3,275         17,343              28,502        13,097         41,599                 42,570        16,372       58,942
  2013       14,126        3,398         17,524              28,086        12,985         41,070                 42,211        16,383       58,594
  2014       14,183        3,521         17,704              27669         12,873         40,542                 41,852        16,394       58,246

SOURCES and NOTES:
         Data from the Area Health Resource File (AHRF) for county codes Cuyahoga (39035), and Summit (39153)
      1 AHRF variables: f0958305, f0958310, f0958314. STG = Short Term General Hospital
      2 AHRF variables: f0958405, f0958410, f0958414. STNG = Short Term Non-General Hospital
      3 Total Inpatient = Inpatient STG + Inpatient STNG
      4 AHRF variables: f0970705, f0970710, f0970714
      5 AHRF variables: f0958605, f0958610, f0958614
      6 Total Outpatient = Outpatient STG + Outpatient STNG
      7 AHRF variables: f0958705, f0958710, f0958714
      8 AHRF variables: f0958905, f0958910, f0958914
      9 Total Surgery = Total Surgery STG + Total Surgery STNG

Values calculated by linear imputation

          f09583(05,10,14) = Surgical Operations, Inpatnt Short Term General Hospitals (2005, 2010, 2014)
          f09584(05,10,14) = Surgical Operations, Inpatnt ST Non-Gen + Long Term Hosps (2005, 2010, 2014)
          f09707(05,10,14) = Surgical Operations, Outpatnt Short Term General Hospitals (2005, 2010, 2014)
          f09586(05,10,14) = Surgical Operations, Outpatnt ST Non-Gen + Long Term Hosps (2005,2010,2014)
          f09587(05,10,14) = Surgical Operations, Total Short Term General Hospitals (2005,2010,2014)
          f09589(05,10,14) = Surgical Operations, Total ST Non-Gen + Long Term Hosps (2005,2010,2014)

          User Documentation for the County Area Health Resource File (AHRF) 2016-2017 Release defines Surgical Operations and Operating Rooms
          within Utilization on pg. 67: 2005, 2010 and 2014 number of Surgical Operations by Patient Status (i.e., inpatient versus outpatient) are
          tallied for short term general hospitals, and short term non‑general and long term hospitals which were open in each of the respective
          years. Number of Surgical Operations are available for Veterans hospitals which were open in 2014. Number of Operating Rooms are
          available for short term general hospitals and short term non-general and long term hospitals for 2005, 2010 and 2014.



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                                                  Table D (e)
                           Epidemiological Data Used for Appropriate Use Analysis
                          Cancer       Cancer      Surgery      Surgery    Trauma    Trauma
                  Year   Cuyahoga      Summit     Cuyahoga      Summit    Cuyahoga   Summit
                  1995     3,787        1,284
                  1996     3,756        1,243
                  1997     3,645        1,158
                  1998     3,604        1,252
                  1999     3,613        1,183
                  2000     3,584        1,257
                  2001     3,570        1,243
                  2002     3,418        1,265
                  2003     3,372        1,259
                  2004     3,468        1,259
                  2005     3,370        1,213     257,359       63,592
                  2006     3,189        1,204     258,758       62,801     88,862    36,913
                  2007     3,244        1,281     260,157       62,010     87,275    36,601
                  2008     3,210        1,216     261,555       61,219     87,308    36,895
                  2009     3,039        1,259     262,954       60,428     85,776    36,470
                  2010     3,158        1,220     264,353       59,637     87,909    37,205
                  2011     3,096        1,234     269,599       59,289     85,356    36,273
                  2012     3,167        1,154     274,846       58,942     86,029    36,776
                  2013     2,997        1,147     280,092       58,594     83,518    35,825
                  2014     2,998        1,269     285,338       58,246     84,318    36,271
                  2015     2,948        1,257
                  2016     3,062        1,218



  Sources: SEER CDC, HCUP AHRQ, AHRF HRSA.




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